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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

BIOGEN INC. and BIOGEN MA INC.,                  )
                                                 )
                        Plaintiffs,              )
                                                 )
            v.                                   )    C.A. No. 22-1190-GBW
                                                 )
SANDOZ INC. and POLPHARMA                        )
BIOLOGICS S.A.,                                  )    REDACTED - PUBLIC VERSION
                                                 )
                        Defendants.              )
                                                 )
                                                 )


                                FIRST AMENDED COMPLAINT

       Plaintiffs Biogen Inc. and Biogen MA Inc. (collectively, “Biogen”), pursuant to the Joint

Stipulation to Stay Briefing Regarding Motion to Dismiss (D.I. 36, SO ORDERED November 9,

2022; as amended by D.I. 42), hereby file their First Amended Complaint against Defendants

Sandoz Inc. (“Sandoz”) and Polpharma Biologics S.A. (“Polpharma”) (collectively,

“Defendants”),1 by and through their undersigned attorneys, and allege as follows:

                                      NATURE OF THE ACTION

       1.        This is an action for patent infringement arising under 28 U.S.C. § 1331 and the

United States Patent Act, 35 U.S.C. § 100 et seq., including 35 U.S.C. § 271(e)(2), and under the

Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202, and pursuant to the Biologics Price




1
  Biogen previously stipulated to the dismissal of Sandoz International GmbH and Sandoz GmbH
from this Action on the basis of Sandoz’s representations that Sandoz International GmbH and
Sandoz GmbH were not filers of the Sandoz abbreviated Biologics License Application (“aBLA”)
referenced herein, and that neither entity will manufacture, use, import, offer for sale, or sell the
biosimilar product that is the subject of the aBLA within the United States. D.I. 11 (SO ORDERED
Oct. 4, 2022). The dismissed entities agreed, nevertheless, to provide relevant discovery and
remain subject to any judgment, order, or decision rendered in this Action. Id. ¶¶ 1–2.
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Competition and Innovation Act (“BPCIA”), 42 U.S.C. § 262, seeking a declaratory judgment of

patent infringement.

       2.      Biogen brings this action to halt Sandoz’s and Polpharma’s past, current, and future

intended infringement of Biogen’s rights pursuant to the patent laws of the United States, which

are set out in the following patents: U.S. 9,493,567; U.S. 10,233,245; U.S. 11,292,845; U.S.

10,119,976; U.S. 10,677,803; U.S. 11,280,794; U.S. 9,316,641; U.S. 10,444,234; U.S. 11,287,423;

U.S. 8,124,350; U.S. 8,871,449; U.S. 9,709,575; U.S. 10,705,095; U.S. 8,809,049; U.S.

10,844,416; U.S. 9,109,015; and U.S. 9,096,879 (collectively, the “Asserted Patents”).

       3.      The claims for patent infringement brought in this action are necessitated by

Defendants’ development of and stated intent to import, market, and sell in Delaware and

throughout the United States a biosimilar version of Biogen’s groundbreaking biologic product,

Tysabri® (natalizumab) (“Tysabri”)—which aids over 200,000 patients in their fights against

chronic, painful, and life-threatening autoimmune diseases—by improperly exploiting Biogen’s

intellectual property.                                   Sandoz plans to import, market, and sell

throughout the United States a biosimilar version of Tysabri® (natalizumab).” D.I. 14 ¶ 3.

       4.      Biogen invested many years of work and research, and billions of dollars, in

acquiring, developing, testing, and commercializing Tysabri to ensure that the product, and

methods by which it is used, are both effective in treating Multiple Sclerosis (“MS”) and Crohn’s

Disease (“CD”) and can be administered to patients safely. Biogen’s efforts resulted not only in a

groundbreaking therapeutic product, but also in innovative methods of treating patients using

Tysabri, manufacturing techniques and protocols, and a qualitative assay. The United States Patent

and Trademark Office (“USPTO”) has recognized Biogen’s innovations, awarding Biogen many




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patents relating to Tysabri and to Biogen’s pioneering manufacturing methods, including the

patents at issue in this litigation.

         5.     In contrast, Defendants now are seeking to reap the benefits of Biogen’s hard work

and success by infringing Biogen’s patent rights in order to develop, market, and ultimately profit

from their purported biosimilar version of Tysabri.

         6.     The BPCIA (42 U.S.C. § 262) permits Defendants to seek and obtain approval from

the U.S. Food and Drug Administration (“FDA”) to market a Tysabri biosimilar, but it does not

permit the Defendants to infringe Biogen’s patents. As stated herein, Defendants’ activities have

already infringed Biogen’s patents, and Defendants’ intended activities will continue to infringe

those patents and additional Biogen patents, none of which Defendants have obtained a license to

from Biogen.

                                            PARTIES

         7.     Plaintiff Biogen Inc. is a corporation organized and existing under the laws of the

State of Delaware, having its principal place of business at 225 Binney Street, Cambridge, MA

02142.

         8.     Plaintiff Biogen MA Inc. is a corporation organized and existing under the laws of

the State of Massachusetts, having its principal place of business of 225 Binney Street, Cambridge,

MA 02142.

         9.     Biogen Inc. is the sponsor of the Biologics License Application (“BLA”) for

Tysabri.

         10.    Plaintiff Biogen MA Inc. is a wholly-owned subsidiary of Biogen Inc.

         11.    Biogen has been discovering, developing, manufacturing, and commercializing

innovative therapies to address significant unmet medical needs for more than 40 years, with a

particular focus on neurological diseases. Biogen manufactures and commercializes products for


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a variety of medical conditions, including numerous types of cancer, rheumatoid arthritis, MS, CD,

and many other serious conditions. Biogen’s innovative pipeline includes therapies directed to

Alzheimer’s    disease,   SOD-1-Amyotrophic lateral sclerosis (“ALS”), Systemic lupus

erythematosus, and Major depressive disorder (“MDD”), among other disease areas. In addition,

Biogen itself operates a biosimilars business unit to develop and commercialize biosimilar

medicines.

         12.   Biogen regularly seeks and invests in patents on inventions originating from its

extensive research and development activities. Among those are numerous patents that claim

innovative methods of treating patients using Tysabri, methods of making treatment safer for

patients and methods of manufacturing antibodies, such as Tysabri.

         13.   The exclusivity that these patents afford to Biogen allows it to invest in developing

new and novel therapies for various diseases, including MS and CD.

         14.   Defendant Sandoz Inc. is a corporation organized and existing under the laws of

the State of Delaware with its principal place of business at 100 College Road West, Princeton, NJ

08540.

         15.   Sandoz Inc., Sandoz International GmbH, and Sandoz GmbH operate within a

division of Novartis, one of the largest pharmaceutical companies in the world.

         16.   Defendant Polpharma Biologics S.A. is a Polish corporation, with its principal

place of business at Gdansk Science & Technology Park Trzy Lipy 3, Building A 80-172 Gdansk,

Poland.

                                 JURISDICTION AND VENUE

         17.   This action arises under the patent laws of the United States, 35 U.S.C. § 100, et

seq., and this Court has jurisdiction over the subject matter of this action under 28 U.S.C. §§ 1331,

1338(a), 2201 and 2202.


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       18.     Venue is proper in this Court under 28 U.S.C. §§ 1391 and 1400(b). In a recent

correspondence sent to Biogen, Sandoz stated “As the aBLA applicant, Sandoz is subject to venue

in the District of Delaware or the District of New Jersey.”

       19.     This Court has personal jurisdiction over Sandoz Inc. because Sandoz Inc. is a

Delaware corporation. In addition, Sandoz Inc. has purposefully directed activities in the State of

Delaware, and this litigation relates to or arises out of those activities. Sandoz Inc. has taken the

significant step of filing an aBLA (Application Number 761322) with the FDA seeking approval

of a proposed biosimilar natalizumab (also referred to as “PB006,” the internal designation used

by Sandoz and Polpharma for their purported biosimilar product) for the express purposes of

marketing, distributing, and selling the purported biosimilar in Delaware and throughout the

United States. Sandoz filed aBLA No. 761322 with the FDA “seeking approval of a proposed

biosimilar natalizumab, referred to in the aBLA as ‘PB006.’” D.I. 14 ¶ 23. Sandoz has indicated




       20.     Sandoz, acting in partnership with Polpharma, is in the business of developing,

manufacturing, marketing, and selling generic biologic products, including the proposed

biosimilar version of Biogen’s Tysabri product. Sandoz intends to distribute and sell its proposed

biosimilar product in the State of Delaware and throughout the United States. Sandoz is “in the

business of developing, manufacturing, marketing, and selling biosimilar products” and “intends

to distribute its biosimilar natalizumab in the United Sates.” Id. ¶ 25. Sandoz Inc. is the United

States agent for Sandoz International GmbH and Sandoz GmbH for purposes of, inter alia, filing

regulatory submissions to, and corresponding with the FDA.




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       21.     Sandoz affiliates have issued press releases regarding the development of its

purported biosimilar. D.I. 14 ¶¶ 16, 26–27, 30.

       22.     In a press release dated September 3, 2019, issued from Sandoz International

GmbH’s Holzkirchen, Germany headquarters, Sandoz announced that it “entered into a global

commercialization       agreement        for      a    proposed        natalizumab      biosimilar”

(https://www.sandoz.com/news/media-releases/sandoz-announces-global-deal-commercialize-

proposed-biosimilar-natalizumab-key). Under the agreement, Polpharma was responsible for

developing, manufacturing, and supplying the proposed biosimilar natalizumab and Sandoz would

be responsible for commercializing and distributing it in all markets upon approval, through an

exclusive global license.

       23.     In a press release dated July 25, 2022, issued from Sandoz’s offices in Basel,

Switzerland, Sandoz announced that the FDA accepted its biologics license application for a

proposed      biosimilar      natalizumab,       “developed       by     Polpharma       Biologics”

(https://www.sandoz.com/news/media-releases/applications-proposed-first-kind-multiple-

sclerosis-biosimilar-natalizumab).

       24.     Sandoz Inc. has previously submitted to the jurisdiction of this Court and availed

itself of the legal protections of the State of Delaware by asserting claims and not contesting

jurisdiction in the United States District Court for the District of Delaware. See, e.g., Genentech,

Inc. v. Sandoz Inc., C.A. No. 19-00202 (D. Del. Jan. 31, 2019); Otsuka Pharmaceutical Co., LTD.

v. Sandoz Inc., C.A. No. 21-00580 (D. Del. Apr. 26, 2021).

       25.     Sandoz has agreed that “it will not contest personal jurisdiction, subject matter

jurisdiction, or venue in this Action.” D.I. 11 ¶ 5.




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       26.     This Court has jurisdiction over Polpharma because Polpharma’s development,

manufacturing, and supply of the proposed biosimilar natalizumab establishes specific personal

jurisdiction in any judicial district where the biosimilar is marketed, including the District of

Delaware.

       27.     Polpharma collaborated extensively with Sandoz to develop, manufacture, and

submit the aBLA for PB006.




             Polpharma is the development partner of PB006 and was responsible, in part, for

communications with the FDA regarding PB006. Polpharma, in collaboration with Sandoz,

intends to import, market, offer for sale, and sell the proposed biosimilar natalizumab in Delaware

and throughout the United States. 42 U.S.C. § 262(k)(2)(A)(i)(V) requires that any application for

a proposed biosimilar product “shall include” information demonstrating that “the facility in which

the biological product is manufactured, processed, packed, or held meets standards designed to

assure that the biological product continues to be safe, pure, and potent.”




       28.     In the alternative, this Court has personal jurisdiction over Polpharma pursuant to

Federal Rule of Civil Procedure 4(k)(2) because Polpharma has extensive contacts with the United

States, including but not limited to the above-described contacts, is not subject to jurisdiction in

any particular state, and exercising jurisdiction over Polpharma is consistent with the laws of the

United States and the United States Constitution.




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                                       BACKGROUND

Multiple Sclerosis and Crohn’s Disease

        29.     MS is a chronic, progressive, and disabling autoimmune disease of the central

nervous system (“CNS”) (the brain and spinal cord). In MS, inflammatory white blood cells (i.e.,

leukocytes) enter the central nervous system and preferentially attack myelin, a fatty substance

that surrounds and forms a sheath around nerve fibers. MS causes gradual destruction of the

myelin sheath (“demyelination”), resulting in nerve damage throughout the brain and spinal cord,

leaving scar tissue called “scleroses,” which can be seen on magnetic resonance imaging (“MRI”)

images. Depending on where in the CNS the demyelination occurs, any of a broad range of

symptoms associated with MS can result, including loss of muscle control, impaired vision,

blindness, incontinence, sensory abnormalities, personality changes, cognitive impairment, and

disabling fatigue. MS is a cause of major disability, and most patients ultimately will require

assistance walking if the disease process is not interrupted. In severe cases, MS sufferers can be

confined to a wheelchair or become bedridden or die from complications associated with the

disease. MS has no known cure, and until 1993, there were no disease-modifying therapies

available to treat the disease.

        30.     CD is a chronic, autoimmune disease of the gastrointestinal (“GI”) tract. In CD,

lesions, ulcers, or abscesses can occur anywhere along the GI tract due to inflammation caused by

auto-reactive white blood cells. CD is characterized by periods of remission and relapse, and the

symptoms can be highly variable depending on which parts of the GI tract are affected. Common

symptoms of CD include abdominal pain, diarrhea, weight loss, and anemia, although non-

intestinal symptoms may also occur, including arthritis, bone disease, eye disease, cardiovascular

disease, neurological disorders, and others. CD is associated with a higher risk of developing

colorectal cancer, and can negatively impact patient quality-of-life. In some cases, surgery is


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required to resect portions of the GI tract that have been severely damaged by CD, although surgery

does not prevent the symptoms from recurring. CD has no known cure, and treatments available

prior to the approval of Tysabri for CD mainly addressed the symptoms while doing little to affect

the long-term course of the disease.

       31.     It is estimated that MS affects approximately 400,000 people in the U.S. and 2.1

million people worldwide, and CD affects approximately 500,000 people in the U.S., 3.2 million

in Europe, and millions more worldwide.

       32.     Tysabri, the brand name for natalizumab, has been a life changing treatment for

many patients. Tysabri is used to treat relapsing forms of MS in adults (including clinically

isolated syndrome, relapsing-remitting, and active secondary progressive disease). Tysabri is also

used to treat moderate to severe CD.

       33.     Tysabri has been touted by treating physicians as a significant improvement in the

standard of care for these debilitating diseases. For example, at the 2021 American Academy of

Neurology Annual Meeting, Dr. Carrie Hersh commented, “[i]n addition to its efficacy on

traditional measures of MS disease activity, natalizumab has been associated with improvements

in health-related quality of life, fatigue, depression, and cognitive function in both real-world and

clinical trial settings[.]”   (https://www.neurologylive.com/view/natalizumab-improves-social-

mental-health-ms).

Development and Approval of Biogen’s Tysabri Product

       34.     Tysabri, a humanized monoclonal antibody that targets the alpha-4 (or α4) integrin

component of adhesion molecules found on many white blood cells, was launched as a new type

of MS and CD treatment. Tysabri was designed to selectively inhibit immune cells in the blood

stream, preventing them from passing from the blood into the CNS where they can damage nerves.




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        35.     In 2000, Biogen partnered with Elan Corporation, plc and initiated clinical trials for

 Tysabri of approximately 3,000 subjects. In November 2004, Tysabri was first approved by the

 FDA as a treatment for MS.

        36.     In January 2008, Tysabri was approved for the treatment of moderate to severe CD.

        37.     Before Tysabri’s launch in 2004, the only disease-modifying treatments available

 for MS were interferons, and there was a strong desire among physicians and patients for a more

 effective treatment. Tysabri has been lauded as a substantial innovation in the treatment of MS.

 Biogen Voluntarily Withdrew Tysabri From the Market Due to PML Cases

        38.     In February 2005, after Tysabri was on the market, it was discovered that two

 individuals who had received Tysabri during clinical trials developed progressive multifocal

 leukoencephalopathy (“PML”).       A third PML case was confirmed shortly thereafter.           The

 occurrence of PML in these three individuals was unexpected and devastating.

        39.     PML is a rare but serious, and often fatal, opportunistic infection of the brain. The

 virus infects and destroys oligodendrocytes, leading to multifocal areas of demyelination and

 associated neurologic dysfunction. Symptoms of PML vary from person to person, but can include

 loss of balance or coordination, difficulty walking, facial drooping, central blindness or sudden

 changes in eyesight, personality changes, mental confusion, trouble speaking, and/or weak

 muscles. There are no known interventions that can reliably prevent PML or that can fully cure

 PML if it occurs.

        40.     John Cunningham polyomavirus or John Cunningham Virus (“JCV” or “JC virus”),

 a human polyomavirus, is common in adults, and usually harmless. Infection with JCV typically

 occurs during childhood and the virus can remain in a latent state in the body, typically with no

 apparent clinical symptoms. However, JCV reactivation can lead to PML.




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        41.     Infection with JCV causes the body to mount an immune response, including the

 generation of antibodies targeting the virus, which can be referred to as “anti-JCV antibodies” (or

 “JCV antibodies”). Individuals infected with JCV can have both anti-JCV antibodies and DNA

 from the virus in their bodies.

        42.     Biogen swiftly reacted to the reports of cases of PML. On February 28, 2005,

 Biogen voluntarily withdrew Tysabri from the market.

 The Re-Approval of Tysabri and Biogen’s Further Innovations

        43.     Biogen also quickly gathered experts in the field, tapped into internal resources,

 and worked closely with the FDA in the hope that Biogen could continue to make Tysabri

 treatment safely available to patients.

        44.     Biogen worked with the FDA for Tysabri’s re-approval to the market, and after

 careful consideration, the FDA brought Tysabri back to the market because of how effective it was

 and how superior it was to prior therapeutic options.

        45.     On June 5, 2006, Tysabri was approved for re-entry to the market. Upon re-entry,

 Tysabri included a warning on the label regarding the potential risk of PML. Biogen worked hard

 to develop an innovative risk-management plan to give early warning of cases of PML. Biogen

 also developed risk stratification algorithms and PML management strategies to facilitate more

 personalized decision making and safer Tysabri use. Biogen’s innovative approaches to safely

 administering Tysabri and managing PML risk were recognized by the U.S. Patent Office, which

 rewarded Biogen with granted patents covering safer ways to treat MS and CD using Tysabri, as

 discussed in more detail below.

        46.     After Tysabri came back on the market, Biogen doctors and scientists continued

 their efforts to roll out improvements that would help ensure that Tysabri would remain safely

 available to patients. One key to Biogen’s remedial efforts was its Tysabri Outreach: Unified


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 Commitment to Health (“TOUCH™”) Prescribing Program (“TOUCH” or “TOUCH Program”)

 designed to mitigate the potential risk of PML in patients receiving treatment with Tysabri. Since

 2006, Tysabri has only been available through this program.

        47.     The TOUCH Program is a type of Risk Evaluation and Mitigation Strategy

 (“REMS”) program that the FDA can require to help ensure that the benefits of a drug outweigh

 its risks. REMS programs are designed to reinforce and promote the safe use of a particular drug.

        48.     Biogen also worked simultaneously to address how to better predict whether a

 patient is at risk of developing PML while taking Tysabri.

 Development of Biogen’s Anti-JCV Antibody ELISA Assay

        49.     As part of Biogen’s dedication and commitment to continually improving the safety

 and accessibility of Tysabri, Biogen endeavored to identify risk factors for developing PML.

 Biogen considered a number of different possibilities, including testing for JCV DNA and anti-

 JCV antibodies.

        50.     Before Biogen’s innovations, the consensus in the scientific community was that

 anti-JCV antibody testing in serum would not accurately predict the potential risk of PML. This

 was, in part, because a significant percentage of human adults have been infected with JCV so

 anti-JCV antibodies were thought to be common in human sera.

        51.     Biogen scientists were the first to discover that testing serum for anti-JCV

 antibodies could actually be used to accurately assess whether patients were at risk of developing

 PML.

        52.     While antibody assays existed when Tysabri was withdrawn from the market,

 Biogen set out to design its own improved test and methods of determining if a patient had a PML

 risk in order to increase the safety of Tysabri treatment.




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         53.       Biogen worked to produce virus-like particles (“VLPs”) on a larger scale to support

 its ongoing efforts. Biogen contracted with a third-party company to supply VLPs for its assay

 research. VLP production was, and remains, fraught with complex technical problems given the

 importance of very high-quality VLP reagents for JCV serological assays. The specificity of anti-

 JCV antibodies is highly dependent on the proper formation of the VLPs. Biogen worked tirelessly

 to create VLPs fit for a clinical assay in terms of scalability, characterization, purification and

 stability, among other essential characteristics. Biogen generated sufficient evidence to indicate

 that the serology assay it had been developing was promising for PML risk identification and

 stratification.

         54.       In August 2009, Biogen engaged Focus Diagnostics (which was later acquired by

 DiaSorin Molecular LLC), which had expertise in developing commercial assays that would meet

 FDA standards for use in clinical practice. By December 2009, the assay was analytically

 validated and patient samples were tested for anti-JCV antibodies.

         55.       As Biogen worked on these projects, it consulted outside experts, including some

 who expressed skepticism that Biogen’s methods would work to accurately predict a patient’s risk

 of developing PML.

         56.       Biogen persevered, confident in its innovations. Biogen’s efforts culminated in

 January 2012 with the FDA’s approval of the first and only clinically and analytically validated

 anti-JCV antibody assay, the Stratify™ JCV Antibody Enzyme-Linked Immunosorbent Assay

 (“ELISA”) Test (“Stratify” or the “Stratify assay”). Biogen also applied for and was granted

 patents covering the Stratify assay, as discussed in more detail below.

         57.       Stratify includes two separate tests: a detection assay and a confirmation assay.

 Typically, the first test performed on a sample is the detection assay. For the detection assay, “JC




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 virus-like particles (VLP) are pre-coated onto … microtiter plates. Diluted serum or plasma

 specimens and controls are incubated in the wells to allow JCV-specific antibodies present in the

 specimens to react with the JC VLP antigen.” The result of the detection assay is reported as an

 index value. “A specimen with an index value that is greater than a specified upper cut-off is

 reported as positive for detectable JCV-specific antibodies, whereas a specimen with an index

 value less than the specified lower cut-off is reported as negative for detectable JCV-specific

 antibodies. A specimen with an index value that is equal to or between the upper and lower cut-

 off values is reported as indeterminate. An indeterminate result requires further evaluation in the

 confirmation (inhibition) assay.”

        58.     In the confirmation assay, the sample is first contacted with soluble JC VLP antigen

 in solution before being added to multi-well plates coated with the JC VLP antigen. As provided

 in the Stratify insert “[i]n the confirmation assay, soluble JC VLP antigen will compete with plate

 bound JC VLP antigen for the JCV-specific antibodies present in the serum or plasma

 specimens.” Based on this competition, the confirmation assay is able to detect the level of anti-

 JCV antibodies in the sample. The results of the confirmation assay are reported as percent

 inhibition. “The percent inhibition is calculated to confirm presence of JCV-specific antibodies in

 the specimen. Specimens with a percent inhibition value that is greater than the specified cut-off

 are reported as positive for detectable JCV-specific antibodies, whereas specimens with percent

 inhibition values less than or equal to the cut-off are reported as negative for detectable JCV-

 specific antibodies.”

        59.     Biogen’s Stratify assay has become widely adopted in conjunction with treatment

 with Tysabri. By utilizing Stratify to determine patients’ anti-JCV antibody status, and considering

 other risk factors of PML, including the duration of a patient’s treatment with Tysabri and prior




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 immunosuppressant treatment, Tysabri therapy has become safer, more effective, and accessible

 to over 200,000 patients.

           60.   In addition to approval of the Stratify assay, FDA approved changes to the Tysabri

 label to highlight the significance of anti-JCV antibodies and encourage testing for anti-JCV

 antibodies. The Tysabri label repeatedly identifies the need to weigh the risks and benefits of

 treatment when deciding to initiate and/or continue treatment. One of the risk factors to be

 considered is the presence of anti-JCV antibodies. The established method for a clinician to assess

 the presence of anti-JCV antibodies is through use of the Stratify assay. Biogen’s TOUCH

 Program also recommends blood testing for anti-JCV antibodies in connection with treatment with

 Tysabri. The Tysabri label and TOUCH Program expressly instruct prescribers to discontinue

 treatment in patients with signs or symptoms of PML.

           61.   In 2011, Biogen and Quest Diagnostics (“Quest”) entered into a license and

 commercialization agreement regarding Stratify. Pursuant to the agreement, Quest is the provider

 of the Stratify assay for Biogen (and for Biogen only) in the U.S. during a specific exclusivity

 period.

           62.   In practice, when a prescriber orders the Stratify assay for a patient considering or

 taking Tysabri, Quest receives a blood sample from the patient, conducts the test, and sends the

 results to the patient’s prescriber. Quest then sends quarterly bills to Biogen for the testing. In

 short, Biogen pays for every Stratify kit and corresponding test that Quest performs. Patients and

 their insurers (public or private) are not billed for this test. It is paid for entirely by Biogen.

           63.   Stratify has only been validated for use with Tysabri and not with any other

 natalizumab product. Stratify includes a package insert (the “Stratify Insert”) that explains the test

 and procedures for using the test. The Stratify Insert specifically states that “[t]he purchase of this




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 product includes a limited, non-transferable immunity from suit under the foregoing patent claims

 for using only this amount of product for clinical diagnostic testing intended for use with a patient

 being treated or under consideration for treatment of multiple sclerosis (MS) or Crohn’s disease

 with Tysabri® (natalizumab). All other uses require a license from Biogen.” (emphasis added).

        64.     In addition, the Stratify Insert makes clear that “[p]atented technology in this

 product and its use is covered by US Patent claims and corresponding patent claims outside the

 US. The foregoing patent claims are licensed by DiaSorin Molecular from Biogen.”

        65.     Biogen pays Quest millions of dollars annually to administer lab services for the

 Stratify assay for use by Tysabri patients and potential Tysabri patients.

 Manufacturing Processes and Biogen’s Innovative Antibody Manufacturing

        66.     Even though therapeutic antibodies represent a significant share of the biologics

 market, manufacturing of antibodies is well-known to be a challenging task.             Among the

 challenges and considerations faced in the manufacturing of therapeutic antibodies is the stability,

 bioavailability, and immunological engagement with the desired target. This is no different for an

 antibody such as Tysabri.

        67.     One of the key challenges in the manufacturing of therapeutic antibodies is that the

 production is limited to cell-based expression systems which are costly and inefficient, can have

 varied yields depending on the product and expression system, and require downstream processing

 to remove biological contaminants introduced from the expression system. Biogen has developed

 specialized cell-based expression systems that can be used to generate high yield therapeutic

 antibodies, as well as specialized methods for culturing mammalian cells to improve the yield of

 therapeutic antibodies.

        68.     Once the antibody is expressed in a cell-based expression system, the antibody then

 needs to be purified from the harvested cell culture to remove cellular components and impurities,


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 to inactivate any viral components used in the manufacturing process, and to concentrate the

 antibody therapeutic to meet clinically acceptable standards. Many purification systems have been

 developed to achieve this goal, and the various purification methods have different effects on the

 eventual yield of the therapeutic antibody. Among the frequently used purification methods are

 filtration-based methods, chromatography-based methods, methods using specific chemical

 compounds to remove impurities, or combinations of these methods. To purify therapeutic

 antibodies, Biogen has developed technologies using depth filtration, specific centrifugation

 methods, and heavy metals. These technologies are essential for the purification of antibody

 therapeutics to meet clinical manufacturing standards for therapeutic antibodies set by the FDA.

        69.     In addition, the manufacturing process also has to ensure that the sequence and

 structure of the antibody is not altered during the process. This is because any changes to the

 sequence, structure, or conformation of the antibody during the manufacturing process can have

 unwanted effects on the stability and/or efficacy of the resulting antibody therapeutic. For

 example, the produced antibody must have the same amino acid sequence as predicted by the

 underlying nucleic acid sequence of the expression vector from which the antibody is expressed.

 To this end, Biogen has developed a method of ensuring that the protein sequence of an expressed

 therapeutic antibody matches the predicted protein sequence for said antibody – a vital step in

 ensuring that the production method produces the expected product. Full-length monoclonal

 antibodies have bonds known as disulfide bonds in specific locations of the antibody, which

 determine the structure of the antibody. In recognizing the importance of maintaining the proper

 structure and conformation of antibodies for use as therapeutics, Biogen has developed

 technologies that prevent unwanted conformational changes (including unwanted sulfide-based

 bonds) during the manufacturing process of therapeutic antibodies.




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           70.   Manufacturing processes can also alter the conformation, stability, and function of

 an antibody by altering the glycosylation profile of the antibody. Changes to the glycosylation

 profile of an antibody can affect the safety and effectiveness of the therapeutic antibody in its

 clinical context. Glycosylation refers to the addition of sugar molecules to an antibody by cellular

 machinery after the antibody is expressed in the cell, also referred to as a post-translation

 modification. Glycosylation is a common post-translational modification for antibodies produced

 by mammalian cells such as Chinese hamster ovary (“CHO”) cells, which are frequently used for

 production. In order to produce therapeutic antibodies with a desired glycosylation profile, Biogen

 has developed technologies to produce therapeutic antibodies having specific glycosylation

 profiles. These developed technologies include the use of specific chemical compounds to a cell

 culture medium.

           71.   Biogen applied for and was granted patents covering its innovative manufacturing

 processes, discussed in more detail below.

                               DEFENDANTS’ aBLA PRODUCT

           72.   Defendants undertook the development of a proposed biosimilar to Biogen’s

 Tysabri product




                                                            On information and belief, “PB” stands

 for “Polpharma Biologics,” indicating Polpharma’s involvement with the development of

 Defendants’ proposed biosimilar product. Biogen refers to PB006 and                interchangeably

 herein.

           73.

                                         in the United States as a biosimilar version of Biogen’s


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 Tysabri product to treat MS and CD. Id. ¶ 82. Specifically, Sandoz is seeking approval of 300

 mg/15 mL natalizumab solution for intravenous administration in a single-dose vial.

        74.    In a press release dated July 25, 2022, Sandoz announced that the FDA accepted its

 biologics license application for a proposed biosimilar natalizumab, “developed by Polpharma

 Biologics.”     (https://www.sandoz.com/news/media-releases/applications-proposed-first-kind-

 multiple-sclerosis-biosimilar-natalizumab).

        75.    PB006 is




                              Id.

        76.



        77.    Although Defendants have not yet produced to Biogen all information regarding

 their proposed REMS program,




        78.




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       79.




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       82.




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       83.




       84.




       85.




       86.    Novartis filed a trademark application on June 30, 2021 for CLASSIFY JCV with

 the USPTO. Novartis AG purports to own the trademark, and has filed its trademark in the




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 Pharmaceutical Products category with the following description: “medical diagnostic tests and

 reagents for testing bodily fluids.”

                      THE PARTIES’ EXCHANGES UNDER THE BPCIA

        87.                                                         Defendants have demonstrated their

 intention to utilize Biogen’s investment of time and money in discovering and developing Tysabri.

 The BPCIA provides an abbreviated regulatory pathway. It does not give biosimilar applicants

 like Sandoz or Polpharma the right to infringe valid patents in connection with the manufacture,

 use, offer for sale, sale, or importation of a biologic product.

        88.     The BPCIA was enacted on March 23, 2010 as an abbreviated pathway for approval

 for follow-on biologic products. 42 U.S.C. § 262(k) provides a pathway for approval of a product

 that is “biosimilar” to a “reference product.” A “biosimilar” product is defined by the BPCIA as

 a biological product that (1) “is highly similar to the reference product notwithstanding minor

 differences in clinically inactive components” and (2) has “no clinically meaningful differences

 between the biological product and the reference product in terms of safety, purity, and potency of

 the product.” 42 U.S.C. § 262(i)(2).

        89.     To facilitate the protection of a biologic innovator’s patent rights, Congress

 enumerated a set of pre-litigation exchanges under the BPCIA outlined in 42 U.S.C. § 262(l)

 (referred to herein as the “Patent Dance”). The procedures under subsection (l) are intended to

 ensure that the maker of an innovative biologic product that is the subject of a biosimilar

 application will have sufficient time and opportunity to enforce its patent rights before a biosimilar

 product enters the market. The BPCIA also requires that a subsection (k) applicant give at least

 180 days’ notice before the first commercial marketing of a biosimilar licensed by the FDA. 42

 U.S.C. § 262(l)(8)(A).       The statute specifically contemplates injunctive relief, including

 preliminary injunctive relief, to prevent unlawful infringement.


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        90.     The BPCIA includes a requirement that Defendants provide Biogen a copy of their

 aBLA submission and such other information that describes the process or processes used to

 manufacture the biological product within 20 days of the FDA accepting the application for review.

 42 U.S.C. § 262(l)(2)(A).

        91.     The FDA has not yet made public whether it will decide to approve Sandoz’s

 proposed biosimilar product or the indications for which the product may be approved.

        92.     On June 27, 2022, Sandoz contacted Biogen




 Sandoz further stated it “expects to move promptly to resolve any disputes between the parties in

 court[.]” D.I. 14 ¶ 101.

        93.     On July 1, 2022, Biogen disclosed to Sandoz Biogen’s outside counsel pursuant to

 42 U.S.C. § 262(l)(1)(B)(ii)(I). In its communication with Sandoz, Biogen specifically “reserve[d]

 the right to ask for the production of additional information, including but not limited to,

 information that describes the process or processes used to manufacture the biological product that

 is the subject of the application, as contemplated under 42 U.S.C. § 262(l)(2)(A)-(B).”

        94.     On July 21, 2022, Biogen requested additional information under 42 U.S.C.

 § 262(l)(2)(A)-(B) including information regarding Defendants’ use of Biogen’s Stratify assay and

 information that describes the process or processes used to manufacture the proposed biological

 product in order to assess whether a claim of patent infringement could reasonably be asserted.




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        95.     On August 3, 2022, Sandoz responded to Biogen’s request by refusing to provide

 any additional information, stating “Sandoz is not inclined to provide additional information at

 this time.”

        96.     On August 26, 2022, pursuant to 42 U.S.C. § 262(l)(3)(A), Biogen provided Sandoz

 with its list of patents for which it believed a claim of patent infringement could be reasonably

 asserted against Defendants’ aBLA product (“Biogen’s 3A List”).

        97.




                                                                                                 Sandoz

 further stated it would “not be providing a list or statement under 42 U.S.C. § (l)(3)(B)[.]”

        98.     Therefore, after receiving Biogen’s 3A List, Defendants failed to comply with the

 requirements of 42 U.S.C. § 262(l)(3)(B)(ii) by failing to provide Biogen with respect to each

 patent on Biogen’s 3A List, “a detailed statement that describes, on a claim by claim basis, the

 factual and legal basis of the opinion of the subsection (k) applicant that such patent is invalid,

 unenforceable, or will not be infringed by the commercial marketing of the biologic product that

 is the subject of the subsection (k) application[.]”

        99.     Biogen Inc., the reference product sponsor, and its wholly-owned subsidiary

 Biogen MA Inc., are entitled under 42 U.S.C. § 262(l)(9)(B) to “bring an action under Section

 2201 of Title 28, United States Code, for a declaration of infringement, validity, or enforceability

 of any patent included in the list described in paragraph (3)(A)[.]”




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        100.



                                THE ASSERTED BIOGEN PATENTS

        101.    Biogen has applied for and obtained a wide variety of issued patents covering its

 inventions relating to Tysabri, including regarding therapeutic uses of Tysabri, ways of making

 treatment with Tysabri safer for patients and Biogen’s innovative methods of manufacturing

 antibodies, such as Tysabri.

        102.    Biogen’s ability to evaluate Defendants’ infringement prior to filing this Action

 was hindered by Defendants’ decision not to provide additional information as requested under 42

 U.S.C. § 262(l)(2)(A)-(B). To the extent Defendants (a) refused to provide to Biogen the requested

 information; and also (b) refused to comply with the requirements of 42 U.S.C. § 262(l)(3)(B)(ii)

 with respect to each patent on Biogen’s 3A List, Biogen assumes that Defendants infringe Biogen’s

 patents.

        103.    In light of the foregoing, and reserving all rights, Biogen is informed and believes

 to the best of its present ability, and on that basis alleges, that Defendants have infringed, will

 infringe, have induced infringement and/or will induce infringement of the Asserted Patents, each

 of which is owned or exclusively licensed with the right to enforce by Biogen.

               U.S. Patent No. 9,493,567

        104.    U.S. Patent No. 9,493,567 (“the ’567 patent”), entitled “Methods Of Treating

 Inflammatory And Autoimmune Diseases With Natalizumab,” was duly and legally issued by the

 Patent Office on November 15, 2016, and has not expired.




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        105.    The ’567 patent is assigned to Biogen MA Inc. with the right to enforce it. A copy

 of the ’567 patent is attached as Exhibit 1.

               U.S. Patent No. 10,233,245

        106.    U.S. Patent No. 10,233,245 (“the ’245 patent”), entitled “Methods Of Treating

 Inflammatory And Autoimmune Diseases With Natalizumab,” was duly and legally issued by the

 Patent Office on March 19, 2019, and has not expired.

        107.    The ’245 patent is assigned to Biogen MA Inc. with the right to enforce it. A copy

 of the ’245 patent is attached as Exhibit 2.

               U.S. Patent No. 11,292,845

        108.    U.S. Patent No. 11,292,845 (“the ’845 patent”), entitled “Methods Of Treating

 Inflammatory And Autoimmune Diseases With Natalizumab,” was duly and legally issued by the

 Patent Office on April 5, 2022, and has not expired.

        109.    The ’845 patent is assigned to Biogen MA Inc. with the right to enforce it. A copy

 of the ’845 patent is attached as Exhibit 3.

               U.S. Patent No. U.S. 10,119,976

        110.    U.S. Patent No. 10,119,976 (“the ’976 patent”), entitled “Method of Assessing Risk

 of PML,” was duly and legally issued by the Patent Office on November 6, 2018, and has not

 expired.

        111.    The ’976 patent is assigned to Biogen MA Inc. with the right to enforce it. A copy

 of the ’976 patent is attached as Exhibit 4.

               U.S. Patent No. 10,677,803

        112.    U.S. Patent No. 10,677,803 (“the ’803 patent”), entitled “Method Of Assessing

 Risk Of PML,” was duly and legally issued by the Patent Office on June 9, 2020, and has not

 expired.


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        113.    The ’803 patent is assigned to Biogen MA Inc. with the right to enforce it. A copy

 of the ’803 patent is attached as Exhibit 5.

               U.S. Patent No. 11,280,794

        114.    U.S. Patent No. 11,280,794 (“the ’794 patent”), entitled “Method Of Assessing

 Risk Of PML,” was duly and legally issued by the Patent Office on March 22, 2022, and has not

 expired.

        115.    The ’794 patent is assigned to Biogen MA Inc. with the right to enforce it. A copy

 of the ’794 patent is attached as Exhibit 6.

               U.S. Patent No. 9,316,641

        116.    U.S. Patent No. 9,316,641 (“the ’641 patent”), entitled “Assay For JC Virus

 Antibodies,” was duly and legally issued by the Patent Office on April 19, 2016, and has not

 expired.

        117.    The ’641 patent is assigned to Biogen MA Inc. and Biogen has the right to enforce

 it. A copy of the ’641 patent is attached as Exhibit 7.

               U.S. Patent No. 10,444,234

        118.    U.S. Patent No. 10,444,234 (“the ’234 patent”), entitled “Assay For JC Virus

 Antibodies,” was duly and legally issued by the Patent Office on October 15, 2019, and has not

 expired.

        119.    The ’234 patent is assigned to Biogen MA Inc. with the right to enforce it. A copy

 of the ’234 patent is attached as Exhibit 8.

               U.S. Patent No. 11,287,423

        120.    U.S. Patent No. 11,287,423 (“the ’423 patent”), entitled “Assay For JC Virus

 Antibodies,” was duly and legally issued by the Patent Office on March 29, 2022, and has not

 expired.


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        121.    The ’423 patent is assigned to Biogen MA Inc. with the right to enforce it. A copy

 of the ’423 patent is attached as Exhibit 9.

               U.S. Patent No. 8,124,350

        122.    U.S. Patent No. 8,124,350 (“the ’350 patent”), entitled “Methods and Products for

 Evaluating An Immune Response to a Therapeutic Protein,” was duly and legally issued by the

 Patent Office on February 28, 2012, and has not expired.

        123.    The ’350 patent is assigned to Biogen MA Inc. with the right to enforce it. A copy

 of the ’350 patent is attached as Exhibit 10.

               U.S. Patent No. 8,871,449

        124.    U.S. Patent No. 8,871,449 (“the ’449 patent”), entitled “Methods and Products for

 Evaluating An Immune Response to a Therapeutic Protein,” was duly and legally issued by the

 Patent Office on October 28, 2014, and has not expired.

        125.    The ’449 patent is assigned to Biogen MA Inc. with the right to enforce it. A copy

 of the ’449 patent is attached as Exhibit 11.

               U.S. Patent No. 9,709,575

        126.    U.S. Patent No. 9,709,575 (“the ’575 patent”), entitled “Methods and Products for

 Evaluating An Immune Response to a Therapeutic Protein,” was duly and legally issued by the

 Patent Office on July 28, 2017, and has not expired.

        127.    The ’575 patent is assigned to Biogen MA Inc. with the right to enforce it. A copy

 of the ’575 patent is attached as Exhibit 12.

               U.S. Patent No. 10,705,095

        128.    U.S. Patent No. 10,705,095 (“the ’095 patent”), entitled “Methods and Products for

 Evaluating An Immune Response to a Therapeutic Protein,” was duly and legally issued by the

 Patent Office on July 7, 2020, and has not expired.


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        129.    The ’095 patent is assigned to Biogen MA Inc. with the right to enforce it. A copy

 of the ’095 patent is attached as Exhibit 13.

               U.S. Patent No. 8,809,049

        130.    U.S. Patent No. 8,809,049 (“the ’049 patent”), entitled “Methods For Producing

 Mammalian Cells,” was duly and legally issued by the Patent Office on August 19, 2014, and has

 not expired.

        131.    The ’049 patent is assigned to Biogen MA Inc. with the right to enforce it. A copy

 of the ’049 patent is attached as Exhibit 14.

               U.S. Patent No. 10,844,416

        132.    U.S. Patent No. 10,844,416 (“the ’416 patent”), entitled “Manganese

 Supplementation For Control Of Glycosylation In Mammalian Cell Culture Process,” was duly

 and legally issued by the Patent Office on November 24, 2020, and has not expired.

        133.    The ’416 patent is assigned to Biogen MA Inc. with the right to enforce it. A copy

 of the ’416 patent is attached as Exhibit 15.

               U.S. Patent No. 9,109,015

        134.    U.S. Patent No. 9,109,015 (“the ’015 patent”), entitled “Method Of Isolating

 Biomacromolecules Using Low pH And Divalent Cations,” was duly and legally issued by the

 Patent Office on August 18, 2015, and has not expired.

        135.    The ’015 patent is assigned to Biogen MA Inc. with the right to enforce it. A copy

 of the ’015 patent is attached as Exhibit 16.

               U.S. Patent No. 9,096,879

        136.    U.S. Patent No. 9,096,879 (“the ’879 patent”), entitled “Method Of Supplementing

 Culture Media To Prevent Undesirable Amino Acid Substitutions,” was duly and legally issued by

 the Patent Office on August 4, 2015, and has not expired.


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           137.   The ’879 patent is assigned to Biogen MA Inc. with the right to enforce it. A copy

 of the ’879 patent is attached as Exhibit 17.

                                                 COUNT I

                     (Declaration of Infringement of U.S. Patent No. 9,493,567)

           138.   Biogen re-alleges and incorporates the foregoing allegations as if fully set forth

 herein.

           139.   The ’567 patent claims a method of treating a patient with an inflammatory or

 autoimmune disease.

           140.   Representative claim 1 of the ’567 patent recites:

           1. A method of treating a patient with an inflammatory or autoimmune disease
           comprising the steps of: (a) testing the patient for the presence of anti-JC virus
           (JCV) antibodies by a method consisting of measuring the presence of anti-JCV
           antibodies in the serum or plasma of a blood sample from the patient; (b) initiating
           treatment of the patient tested in step (a) by administering natalizumab to the patient
           in the event the sample is negative for anti-JCV antibodies; (c) testing the patient
           treated in step (b) for indicators of progressive multifocal leukoencephalopathy
           (PML) by detecting the presence of JCV in the patient’s cerebrospinal fluid, or
           detecting clinical and/or radiologic symptoms of PML in said patient, and (d)
           further administering natalizumab to the patient in the absence of indicators of PML
           or discontinuing natalizumab treatment in the presence of indicators of PML.

           141.   Defendants have infringed, are infringing, and/or will infringe and/or have induced,

 are inducing, and/or will induce others to infringe, either directly or indirectly, literally and/or

 under the doctrine of equivalents, one or more claims, including at least claim 1, of the ’567 patent,

 and Defendants have taken and are taking meaningful steps to infringe or to induce others to

 infringe the ’567 patent.

           142.   Defendants, with knowledge of the ’567 patent, have an affirmative intent to

 actively induce others to infringe one or more claims of the ’567 patent.

           143.




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       144.




                                                                 MS and CD are

 inflammatory or autoimmune diseases.

       145.




       146.




       147.




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       148.




       149.




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        150.    Based on information presently available to Biogen, including without limitation,

 the confidential information disclosed to Biogen by Defendants pursuant to 42 U.S.C. § 262(l)(2)

 relating to the indications and methods of use for           in the event their aBLA is approved by

 the FDA, Defendants will actively induce infringement by others of one or more claims of the ’567

 patent, including at least claim 1, under 35 U.S.C. § 271(b).

        151.    Defendants have infringed one or more claims of the ’567 patent, including at least

 claim 1, under 35 U.S.C. § 271(e)(2)(C), by filing their aBLA for the express purpose of obtaining

 approval to engage in the commercial manufacture, use, or sale of a drug, the use of which is

 claimed in a patent, before the expiration of such patent.

        152.    An actual controversy has arisen and now exists between the parties concerning

 whether Defendants have infringed or will infringe, and/or are currently inducing infringement,

 and/or will induce infringement, directly or indirectly, literally and/or under the doctrine of

 equivalents, one or more claims of the ’567 patent.

        153.    Biogen is entitled to a judicial declaration that Defendants have infringed or will

 infringe, and/or are currently inducing infringement, and/or will induce infringement, directly or

 indirectly, literally and/or under the doctrine of equivalents, one or more claims of the ’567 patent.

        154.    Defendants’ infringement has and will continue to damage Biogen, who is entitled

 to recover jointly and severally from Defendants under 35 U.S.C. § 284 the damages resulting

 from Defendants’ wrongful acts in an amount to be determined at trial, and in any event no less

 than a reasonably royalty.

        155.    Moreover, Defendants’ infringement has caused, and will continue to cause,

 irreparable injury to Biogen, injury for which damages are an inadequate remedy unless

 Defendants, together with, inter alia, all subsidiaries, partners, co-marketers, and licensees, are




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 enjoined from any and all activities that would infringe or would induce infringement of the claims

 of the ’567 patent.

                                               COUNT II

                    (Declaration of Infringement of U.S. Patent No. 10,233,245)

           156.   Biogen re-alleges and incorporates the foregoing allegations as if fully set forth

 herein.

           157.   The ’245 patent claims a method of using natalizumab to treat a patient with an

 inflammatory or autoimmune disease.

           158.   Representative claim 1 of the ’245 patent recites:

           1. A method of using natalizumab to treat a patient with an inflammatory or
           autoimmune disease, the method comprising: (a) testing the patient for the presence
           of anti-JC virus (JCV) antibodies by a method consisting of determining a presence
           or absence of anti-JCV antibodies in serum or plasma of a blood sample of a patient;
           (b) identifying the patient as having serum or plasma that is negative for anti-JCV
           antibodies; and (c) initiating natalizumab treatment of the patient having serum or
           plasma that is negative for anti-JCV antibodies, wherein the testing of (a) improves
           the safety of the natalizumab treatment.

           159.   Defendants have infringed, are infringing, and/or will infringe and/or have induced,

 are inducing, and/or will induce others to infringe, either directly or indirectly, literally and/or

 under the doctrine of equivalents, one or more claims, including at least claim 1, of the ’245 patent,

 and Defendants have taken and are taking meaningful steps to infringe or to induce others to

 infringe the ’245 patent.

           160.   Defendants, with knowledge of the ’245 patent, have an affirmative intent to

 actively induce others to infringe one or more claims of the ’245 patent.

           161.




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       162.




                                                                 MS and CD are

 inflammatory or autoimmune diseases.

       163.




       164.




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        165.




        166.




        167.    Based on information presently available to Biogen, including without limitation,

 the confidential information disclosed to Biogen by Defendants pursuant to 42 U.S.C. § 262(l)(2)

 relating to the indications and methods of use for         in the event their aBLA is approved by

 the FDA, Defendants will actively induce infringement by others of one or more claims of the ’245

 patent, including at least claim 1, under 35 U.S.C. § 271(b).

        168.    Defendants have infringed one or more claims of the ’245 patent, including at least

 claim 1, under 35 U.S.C. § 271(e)(2)(C), by filing their aBLA for the express purpose of obtaining




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 approval to engage in the commercial manufacture, use, or sale of a drug, the use of which is

 claimed in a patent, before the expiration of such patent.

           169.   An actual controversy has arisen and now exists between the parties concerning

 whether Defendants have infringed or will infringe, and/or are currently inducing infringement,

 and/or will induce infringement, directly or indirectly, literally and/or under the doctrine of

 equivalents, one or more claims of the ’245 patent.

           170.   Biogen is entitled to a judicial declaration that Defendants have infringed or will

 infringe, and/or are currently inducing infringement, and/or will induce infringement, directly or

 indirectly, literally and/or under the doctrine of equivalents, one or more claims of the ’245 patent.

           171.   Defendants’ infringement has and will continue to damage Biogen, who is entitled

 to recover jointly and severally from Defendants under 35 U.S.C. § 284 the damages resulting

 from Defendants’ wrongful acts in an amount to be determined at trial, and in any event no less

 than a reasonably royalty.

           172.   Moreover, Defendants’ infringement has caused, and will continue to cause,

 irreparable injury to Biogen, injury for which damages are an inadequate remedy unless

 Defendants, together with, inter alia, all subsidiaries, partners, co-marketers, and licensees, are

 enjoined from any and all activities that would infringe or would induce infringement of the claims

 of the ’245 patent.

                                             COUNT III

                    (Declaration of Infringement of U.S. Patent No. 11,292,845)

           173.   Biogen re-alleges and incorporates the foregoing allegations as if fully set forth

 herein.

           174.   The ’845 patent claims a method of using natalizumab to treat a patient with an

 inflammatory or autoimmune disease.


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        175.    Representative claim 1 of the ’845 patent recites:

        1. A method of using natalizumab to treat a patient with an inflammatory or
        autoimmune disease comprising: (a) administering a pharmaceutically effective
        amount of natalizumab to the patient; (b) monitoring the patient for indicators of
        progressive multifocal leukoencephalopathy (PML), wherein the monitoring
        comprises detecting seroconversion and/or an increasing titer of JC virus (JCV)
        antibodies in the patient’s blood; and (c) discontinuing the administration of
        natalizumab in the presence of seroconversion and/or an increasing titer of JCV
        antibodies; wherein the monitoring improves the safety of the treatment.

        176.    Defendants have infringed, are infringing, and/or will infringe and/or have induced,

 are inducing, and/or will induce others to infringe, either directly or indirectly, literally and/or

 under the doctrine of equivalents, one or more claims, including at least claim 1, of the ’845 patent,

 and Defendants have taken and are taking meaningful steps to infringe or to induce others to

 infringe the ’845 patent.

        177.    Defendants, with knowledge of the ’845 patent, have an affirmative intent to

 actively induce others to infringe one or more claims of the ’845 patent.

        178.




        179.




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       180.




       181.




       182.




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       183.




       184.




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        185.    Based on information presently available to Biogen, including without limitation,

 the confidential information disclosed to Biogen by Defendants pursuant to 42 U.S.C. § 262(l)(2)

 relating to the indications and methods of use for           in the event their aBLA is approved by

 the FDA, Defendants will actively induce infringement by others of one or more claims of the ’845

 patent, including at least claim 1, under 35 U.S.C. § 271(b).

        186.    Defendants have infringed one or more claims of the ’845 patent, including at least

 claim 1, under 35 U.S.C. § 271(e)(2)(C), by filing their aBLA for the express purpose of obtaining

 approval to engage in the commercial manufacture, use, or sale of a drug, the use of which is

 claimed in a patent, before the expiration of such patent.

        187.    An actual controversy has arisen and now exists between the parties concerning

 whether Defendants have infringed or will infringe, and/or are currently inducing infringement,

 and/or will induce infringement, directly or indirectly, literally and/or under the doctrine of

 equivalents, one or more claims of the ’845 patent.

        188.    Biogen is entitled to a judicial declaration that Defendants have infringed or will

 infringe, and/or are currently inducing infringement, and/or will induce infringement, directly or

 indirectly, literally and/or under the doctrine of equivalents, one or more claims of the ’845 patent.

        189.    Defendants’ infringement has and will continue to damage Biogen, who is entitled

 to recover jointly and severally from Defendants under 35 U.S.C. § 284 the damages resulting

 from Defendants’ wrongful acts in an amount to be determined at trial, and in any event no less

 than a reasonably royalty.




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           190.   Moreover, Defendants’ infringement has caused, and will continue to cause,

 irreparable injury to Biogen, injury for which damages are an inadequate remedy unless

 Defendants, together with, inter alia, all subsidiaries, partners, co-marketers, and licensees, are

 enjoined from any and all activities that would infringe or would induce infringement of the claims

 of the ’845 patent.

                                               COUNT IV

                    (Declaration of Infringement of U.S. Patent No. 10,119,976)

           191.   Biogen re-alleges and incorporates the foregoing allegations as if fully set forth

 herein.

           192.   The ’976 patent claims methods of assessing a patient’s risk of developing PML.

           193.   Representative claim 1 of the ’976 patent recites:

           1. A method of evaluating a patient’s risk of developing Progressive Multifocal
           Leukoencephalopathy (PML), the method comprising: determining a JC virus
           (JCV) antibody titer in a biological sample from the patient, wherein the patient has
           a negative prior immunosuppressant exposure classification; wherein if the titer is
           determined to be above a pre-determined level, the patient is determined to be at a
           higher risk of developing PML, and wherein if the titer is determined to be at or
           below an index level of 0.9, the patient is determined to be at a lower risk of
           developing PML.

           194.   Defendants have infringed, are infringing, and/or will infringe and/or have induced,

 are inducing, and/or will induce others to infringe, either directly or indirectly, literally and/or

 under the doctrine of equivalents, one or more claims, including at least claim 1, of the ’976 patent,

 and Defendants have taken and are taking meaningful steps to infringe or to induce others to

 infringe the ’976 patent.

           195.   Defendants, with knowledge of the ’976 patent, have an affirmative intent to

 actively induce others to infringe one or more claims of the ’976 patent.




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       196.




       197.




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       198.




       199.




       200.




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        201.




        202.    Based on information presently available to Biogen, including without limitation,

 the confidential information disclosed to Biogen by Defendants pursuant to 42 U.S.C. § 262(l)(2)

 relating to the indications and methods of use for           in the event their aBLA is approved by

 the FDA, Defendants have infringed, are infringing, and/or will infringe one or more claims of the

 ’976 patent, including at least claim 1, under 35 U.S.C. §§ 271(a) and/or (b), directly or indirectly,

 literally and/or under the doctrine of equivalents.

        203.    Defendants have infringed one or more claims of the ’976 patent, including at least

 claim 1, under 35 U.S.C. § 271(e)(2)(C), by filing their aBLA for the express purpose of obtaining




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 approval to engage in the commercial manufacture, use, or sale of a drug, the use of which is

 claimed in a patent, before the expiration of such patent.

           204.   An actual controversy has arisen and now exists between the parties concerning

 whether Defendants have infringed or will infringe, and/or are currently inducing infringement,

 and/or will induce infringement, directly or indirectly, literally and/or under the doctrine of

 equivalents, one or more claims of the ’976 patent.

           205.   Biogen is entitled to a judicial declaration that Defendants have infringed or will

 infringe, and/or are currently inducing infringement, and/or will induce infringement, directly or

 indirectly, literally and/or under the doctrine of equivalents, one or more claims of the ’976 patent.

           206.   Defendants’ infringement has and will continue to damage Biogen, who is entitled

 to recover jointly and severally from Defendants under 35 U.S.C. § 284 the damages resulting

 from Defendants’ wrongful acts in an amount to be determined at trial, and in any event no less

 than a reasonably royalty.

           207.   Moreover, Defendants’ infringement has caused, and will continue to cause,

 irreparable injury to Biogen, injury for which damages are an inadequate remedy unless

 Defendants, together with, inter alia, all subsidiaries, partners, co-marketers, and licensees, are

 enjoined from any and all activities that would infringe or would induce infringement of the claims

 of the ’976 patent.

                                              COUNT V

                    (Declaration of Infringement of U.S. Patent No. 10,677,803)

           208.   Biogen re-alleges and incorporates the foregoing allegations as if fully set forth

 herein.

           209.   The ’803 patent claims methods of assessing a patient’s risk of developing PML.

           210.   Representative claim 1 of the ’803 patent recites:


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        1. A method of treating a subject in need thereof with an anti-VLA-4 therapy, the
        method comprising: a. determining an anti-JC virus (JCV) antibody titer in two or
        more biological samples obtained from the subject over a period of time, wherein
        the titer is determined to be at or below an index value of 0.9 in the two or more
        samples; and b. administering an anti-VLA-4 antibody to the subject, thereby
        treating the subject with the anti-VLA-4 therapy, wherein the subject suffers from
        multiple sclerosis or a relapsing form of multiple sclerosis.

        211.    Defendants have infringed, are infringing, and/or will infringe and/or have induced,

 are inducing, and/or will induce others to infringe, either directly or indirectly, literally and/or

 under the doctrine of equivalents, one or more claims, including at least claim 1, of the ’803 patent,

 and Defendants have taken and are taking meaningful steps to infringe or to induce others to

 infringe the ’803 patent.

        212.    Defendants, with knowledge of the ’803 patent, have an affirmative intent to

 actively induce others to infringe one or more claims of the ’803 patent.

        213.




        214.




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       215.




       216.




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       217.




       218.




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        219.    Based on information presently available to Biogen, including without limitation,

 the confidential information disclosed to Biogen by Defendants pursuant to 42 U.S.C. § 262(l)(2)

 relating to the indications and methods of use for           in the event their aBLA is approved by

 the FDA, Defendants will actively induce infringement by others of one or more claims of the ’803

 patent, including at least claim 1, under 35 U.S.C. § 271(b).

        220.    Defendants have infringed one or more claims of the ’803 patent, including at least

 claim 1, under 35 U.S.C. § 271(e)(2)(C), by filing their aBLA for the express purpose of obtaining

 approval to engage in the commercial manufacture, use, or sale of a drug, the use of which is

 claimed in a patent, before the expiration of such patent.

        221.    An actual controversy has arisen and now exists between the parties concerning

 whether Defendants have infringed or will infringe, and/or are currently inducing infringement,

 and/or will induce infringement, directly or indirectly, literally and/or under the doctrine of

 equivalents, one or more claims of the ’803 patent.

        222.    Biogen is entitled to a judicial declaration that Defendants have infringed or will

 infringe, and/or are currently inducing infringement, and/or will induce infringement, directly or

 indirectly, literally and/or under the doctrine of equivalents, one or more claims of the ’803 patent.

        223.    Defendants’ infringement has and will continue to damage Biogen, who is entitled

 to recover jointly and severally from Defendants under 35 U.S.C. § 284 the damages resulting

 from Defendants’ wrongful acts in an amount to be determined at trial, and in any event no less

 than a reasonably royalty.

        224.    Moreover, Defendants’ infringement has caused, and will continue to cause,

 irreparable injury to Biogen, injury for which damages are an inadequate remedy unless

 Defendants, together with, inter alia, all subsidiaries, partners, co-marketers, and licensees, are




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 enjoined from any and all activities that would infringe or would induce infringement of the claims

 of the ’803 patent.

                                              COUNT VI

                    (Declaration of Infringement of U.S. Patent No. 11,280,794)

           225.   Biogen re-alleges and incorporates the foregoing allegations as if fully set forth

 herein.

           226.   The ’794 patent claims methods of assessing a patient’s risk of developing PML.

           227.   Representative claim 1 of the ’794 patent recites:

           1. A method of treating a subject in need thereof with natalizumab therapy, the
           method comprising: a) determining an anti-JC virus (JCV) antibody titer in two or
           more biological samples obtained from the subject over a period of time, wherein
           the titer is determined to be at or below an index value of 0.9 in the two or more
           samples; and b) administering natalizumab to the subject, thereby treating the
           subject with the natalizumab therapy, wherein the subject suffers from multiple
           sclerosis or a relapsing form of multiple sclerosis.

           228.   Defendants have infringed, are infringing, and/or will infringe and/or have induced,

 are inducing, and/or will induce others to infringe, directly or indirectly, literally and/or under the

 doctrine of equivalents, one or more claims, including at least claim 1, of the ’794 patent, and

 Defendants have taken and are taking meaningful steps to infringe or to induce others to infringe

 the ’794 patent.

           229.   Defendants, with knowledge of the ’794 patent, have an affirmative intent to

 actively induce others to infringe one or more claims of the ’794 patent.

           230.




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       231.




       232.




       233.




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       234.




       235.




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        236.




        237.    Based on information presently available to Biogen, including without limitation,

 the confidential information disclosed to Biogen by Defendants pursuant to 42 U.S.C. § 262(l)(2)

 relating to the indications and methods of use for           in the event their aBLA is approved by

 the FDA, Defendants will actively induce infringement by others of one or more claims of the ’794

 patent, including at least claim 1, under 35 U.S.C. § 271(b).

        238.    Defendants have infringed one or more claims of the ’794 patent, including at least

 claim 1, under 35 U.S.C. § 271(e)(2)(C), by filing their aBLA for the express purpose of obtaining

 approval to engage in the commercial manufacture, use, or sale of a drug, the use of which is

 claimed in a patent, before the expiration of such patent.

        239.    An actual controversy has arisen and now exists between the parties concerning

 whether Defendants have infringed or will infringe, and/or are currently inducing infringement,

 and/or will induce infringement, directly or indirectly, literally and/or under the doctrine of

 equivalents, one or more claims of the ’794 patent.




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           240.   Biogen is entitled to a judicial declaration that Defendants have infringed or will

 infringe, and/or are currently inducing infringement, and/or will induce infringement, directly or

 indirectly, literally and/or under the doctrine of equivalents, one or more claims of the ’794 patent.

           241.   Defendants’ infringement has and will continue to damage Biogen, who is entitled

 to recover jointly and severally from Defendants under 35 U.S.C. § 284 the damages resulting

 from Defendants’ wrongful acts in an amount to be determined at trial, and in any event no less

 than a reasonably royalty.

           242.   Moreover, Defendants’ infringement has caused, and will continue to cause,

 irreparable injury to Biogen, injury for which damages are an inadequate remedy unless

 Defendants, together with, inter alia, all subsidiaries, partners, co-marketers, and licensees, are

 enjoined from any and all activities that would infringe or would induce infringement of the claims

 of the ’794 patent.

                                              COUNT VII

                     (Declaration of Infringement of U.S. Patent No. 9,316,641)

           243.   Biogen re-alleges and incorporates the foregoing allegations as if fully set forth

 herein.

           244.   The ’641 patent claims a method of evaluating a subject for presence of anti-JCV

 antibodies.

           245.   Representative claim 1 of the ’641 patent recites:

           1. A method of evaluating a subject for presence of JC virus antibodies, said method
           comprising: a. contacting a biological sample obtained from a subject with highly
           purified VP1 particles (HPVLPs) in solution under conditions suitable for binding
           of a JC Virus (JCV) antibody in the sample to an HPVLP, thereby providing a pre-
           incubated sample; b. contacting the pre-incubated sample with HPVLPs
           immobilized on a solid substrate under conditions suitable for binding of a JCV
           antibody in the sample to an HPVLP; c. detecting the level of JCV antibody in the
           pre-incubated sample binding to the immobilized HPVLPs; and d. comparing the
           detected level of JCV antibody in the pre-incubated sample binding to the


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        immobilized HPVLPs to a reference value, which corresponds to a detected level
        of JCV antibody in a pre-incubated control sample, wherein the pre-incubated
        control sample was pre-incubated in the absence of HPVLPs in solution, thereby
        providing a pre-incubated control sample, and wherein the pre-incubated control
        sample was contacted with HPVLPs immobilized on a solid substrate under
        conditions suitable for binding of a JCV antibody in the sample to an HPVLP
        thereby evaluating the subject for presence of JC virus antibodies.

        246.    Defendants have infringed, are infringing, and/or will infringe and/or have induced,

 are inducing, and/or will induce others to infringe, directly or indirectly, literally and/or under the

 doctrine of equivalents, one or more claims, including at least claim 1, of the ’641 patent, and

 Defendants have taken and are taking meaningful steps to infringe or to induce others to infringe

 the ’641 patent.

        247.    Defendants, with knowledge of the ’641 patent, have an affirmative intent to

 actively induce others to infringe one or more claims of the ’641 patent.

        248.    The ’641 patent covers certain steps performed by Biogen’s Stratify assay. The

 assay includes two separate tests: a detection assay and a confirmation assay. For the detection

 assay, “JC virus-like particles (VLP) are pre-coated onto … microtiter plates. Diluted serum or

 plasma specimens and controls are incubated in the wells to allow JCV-specific antibodies present

 in the specimens to react with the JC VLP antigen.” The result of the detection assay is reported

 as an index value. “A specimen with an index value that is greater than a specified upper cut-off

 is reported as positive for detectable JCV-specific antibodies, whereas a specimen with an index

 value less than the specified lower cut-off is reported as negative for detectable JCV-specific

 antibodies. A specimen with an index value that is equal to or between the upper and lower cut-

 off values is reported as indeterminate. An indeterminate result requires further evaluation in the

 confirmation (inhibition) assay.”




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        249.    In the confirmation assay, the sample is first contacted with soluble JC VLP antigen

 in solution before being added to multi-well plates coated with the JC VLP antigen. As provided

 in the Stratify insert “[i]n the confirmation assay, soluble JC VLP antigen will compete with plate

 bound JC VLP antigen for the JCV-specific antibodies present in the serum or plasma

 specimens.” Based on this competition, the confirmation assay is able to detect the level of anti-

 JCV antibodies in the sample. The results of the confirmation assay are reported as percent

 inhibition. “The percent inhibition is calculated to confirm presence of JCV-specific antibodies in

 the specimen. Specimens with a percent inhibition value that is greater than the specified cut-off

 are reported as positive for detectable JCV-specific antibodies, whereas specimens with percent

 inhibition values less than or equal to the cut-off are reported as negative for detectable JCV-

 specific antibodies.”

        250.




        251.    Based on information presently available to Biogen, including without limitation,

 the confidential information disclosed to Biogen by Defendants pursuant to 42 U.S.C. § 262(l)(2),

 Defendants have infringed or will infringe, and/or are currently inducing infringement, and/or will




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 induce infringement, directly or indirectly, literally and/or under the doctrine of equivalents, one

 or more claims of the ’641 patent, including at least claim 1.

        252.    Defendants have infringed one or more claims of the ’641 patent, including at least

 claim 1, under 35 U.S.C. § 271(e)(2)(C), by filing their aBLA for the express purpose of obtaining

 approval to engage in the commercial manufacture, use, or sale of a drug, the use of which is

 claimed in a patent, before the expiration of such patent.

        253.    An actual controversy has arisen and now exists between the parties concerning

 whether Defendants have infringed or will infringe, and/or are currently inducing infringement,

 and/or will induce infringement, directly or indirectly, literally and/or under the doctrine of

 equivalents, one or more claims of the ’641 patent.

        254.    Biogen is entitled to a judicial declaration that Defendants have infringed or will

 infringe, and/or are currently inducing infringement, and/or will induce infringement, directly or

 indirectly, literally and/or under the doctrine of equivalents, one or more claims of the ’641 patent.

        255.    Through Defendants’ knowledge of the ’641 patent and their infringement thereof,

 Defendants willfully, wantonly, and deliberately engaged in the acts of infringement alleged

 herein, either individually or through the approval, direction, and control of others.

        256.    Defendants’ infringement has and will continue to damage Biogen, who is entitled

 to recover jointly and severally from Defendants under 35 U.S.C. § 284 the damages resulting

 from Defendants’ wrongful acts in an amount to be determined at trial, and in any event no less

 than a reasonably royalty.

        257.    Moreover, Defendants’ infringement has caused, and will continue to cause,

 irreparable injury to Biogen, injury for which damages are an inadequate remedy unless

 Defendants, together with, inter alia, all subsidiaries, partners, co-marketers, and licensees, are




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 enjoined from any and all activities that would infringe or would induce infringement of the claims

 of the ’641 patent.

                                             COUNT VIII

                    (Declaration of Infringement of U.S. Patent No. 10,444,234)

           258.   Biogen re-alleges and incorporates the foregoing allegations as if fully set forth

 herein.

           259.   The ’234 patent claims a set of reaction mixtures and a substrate.

           260.   Representative claim 1 of the ’234 patent recites:

           1. A set of reaction mixtures comprising a first reaction mixture in contact with a
           first substrate and a second reaction mixture in contact with a second substrate,
           wherein the first reaction mixture comprises: i) a first aliquot of a sample from a
           subject; ii) soluble, non-immobilized, Highly Purified Viral-Like Particles
           (HPVLPs) comprising VP1 polypeptides of the JC Virus (JCV); and iii) HPVLPs
           immobilized to the first substrate, and the second reaction mixture comprises: i) a
           second aliquot of the sample from the subject; ii) substantially no soluble, non-
           immobilized, HPVLPs; and iii) HPVLPs immobilized to the second substrate,
           wherein the sample was tested in an ELISA to detect the presence or absence of
           anti-JCV antibodies and was classified as indeterminate for the presence or absence
           of anti-JCV antibodies.

           261.   Defendants have infringed, are infringing, and/or will infringe and/or have induced,

 are inducing, and/or will induce others to infringe, directly or indirectly, literally and/or under the

 doctrine of equivalents, one or more claims, including at least claim 1 of the ’234 patent, and

 Defendants have taken and are taking meaningful steps to infringe or to induce others to infringe

 the ’234 patent.

           262.   Defendants, with knowledge of the ’234 patent, have an affirmative intent to

 actively induce others to infringe one or more claims of the ’234 patent.

           263.   The ’234 patent covers certain steps performed by Biogen’s Stratify assay. The

 assay includes two separate tests: a detection assay and a confirmation assay. For the detection

 assay, “JC virus-like particles (VLP) are pre-coated onto … microtiter plates. Diluted serum or


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 plasma specimens and controls are incubated in the wells to allow JCV-specific antibodies present

 in the specimens to react with the JC VLP antigen.” The result of the detection assay is reported

 as an index value. “A specimen with an index value that is greater than a specified upper cut-off

 is reported as positive for detectable JCV-specific antibodies, whereas a specimen with an index

 value less than the specified lower cut-off is reported as negative for detectable JCV-specific

 antibodies. A specimen with an index value that is equal to or between the upper and lower cut-

 off values is reported as indeterminate. An indeterminate result requires further evaluation in the

 confirmation (inhibition) assay.”

        264.    In the confirmation assay, the sample is first contacted with soluble JC VLP antigen

 in solution before being added to multi-well plates coated with the JC VLP antigen. As provided

 in the Stratify insert “[i]n the confirmation assay, soluble JC VLP antigen will compete with plate

 bound JC VLP antigen for the JCV-specific antibodies present in the serum or plasma

 specimens.” Based on this competition, the confirmation assay is able to detect the level of anti-

 JCV antibodies in the sample. The results of the confirmation assay are reported as percent

 inhibition. “The percent inhibition is calculated to confirm presence of JCV-specific antibodies in

 the specimen. Specimens with a percent inhibition value that is greater than the specified cut-off

 are reported as positive for detectable JCV-specific antibodies, whereas specimens with percent

 inhibition values less than or equal to the cut-off are reported as negative for detectable JCV-

 specific antibodies.”

        265.




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        266.    Based on information presently available to Biogen, including without limitation,

 the confidential information disclosed to Biogen by Defendants pursuant to 42 U.S.C. § 262(l)(2),

 Defendants have infringed or will infringe, and/or are currently inducing infringement, and/or will

 induce infringement, directly or indirectly, literally and/or under the doctrine of equivalents, one

 or more claims of the ’234 patent, including at least claim 1.

        267.    Defendants have infringed one or more claims of the ’234 patent, including at least

 claim 1, under 35 U.S.C. § 271(e)(2)(C), by filing their aBLA for the express purpose of obtaining

 approval to engage in the commercial manufacture, use, or sale of a drug, the use of which is

 claimed in a patent, before the expiration of such patent.

        268.    An actual controversy has arisen and now exists between the parties concerning

 whether Defendants have infringed or will infringe, and/or are currently inducing infringement,

 and/or will induce infringement, directly or indirectly, literally and/or under the doctrine of

 equivalents, one or more claims of the ’234 patent.

        269.    Biogen is entitled to a judicial declaration that Defendants have infringed or will

 infringe, and/or are currently inducing infringement, and/or will induce infringement, directly or

 indirectly, literally and/or under the doctrine of equivalents, one or more claims of the ’234 patent.

        270.    Through Defendants’ knowledge of the ’234 patent and their infringement thereof,

 Defendants willfully, wantonly, and deliberately engaged in the acts of infringement alleged

 herein, either individually or through the approval, direction, and control of others.




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           271.   Defendants’ infringement has and will continue to damage Biogen, who is entitled

 to recover jointly and severally from Defendants under 35 U.S.C. § 284 the damages resulting

 from Defendants’ wrongful acts in an amount to be determined at trial, and in any event no less

 than a reasonably royalty.

           272.   Moreover, Defendants’ infringement has caused, and will continue to cause,

 irreparable injury to Biogen, injury for which damages are an inadequate remedy unless

 Defendants, together with, inter alia, all subsidiaries, partners, co-marketers, and licensees, are

 enjoined from any and all activities that would infringe or would induce infringement of the claims

 of the ’234 patent.

                                              COUNT IX

                    (Declaration of Infringement of U.S. Patent No. 11,287,423)

           273.   Biogen re-alleges and incorporates the foregoing allegations as if fully set forth

 herein.

           274.   The ’423 patent claims methods and reagents for analyzing samples for the

 presence of anti-JCV antibodies.

           275.   Representative claim 1 of the ’423 patent recites:

           1. A reaction mixture comprising soluble JC Virus (JCV) virus-like particles
           (VLP), a sample of serum or plasma from a subject, and immobilized JCV VLP,
           wherein the immobilized JCV VLP has been coated with a blocking agent.

           276.   Defendants have infringed, are infringing, and/or will infringe and/or have induced,

 are inducing, and/or will induce others to infringe, directly or indirectly, literally and/or under the

 doctrine of equivalents, one or more claims, including at least claim 1 of the ’423 patent, and

 Defendants have taken and are taking meaningful steps to infringe or to induce others to infringe

 the ’423 patent.




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        277.    Defendants’ manufacture, importation, use, sale, and/or offer to sell         in the

 United States has infringed, and/or will infringe, and/or will induce others to infringe, either

 directly or under the doctrine of equivalents, one or more claims, including at least claim 1, of

 Biogen’s ’423 patent.

        278.    Defendants, with knowledge of the ’423 patent, have an affirmative intent to

 actively induce others to infringe one or more claims of the ’423 patent.

        279.    The ’423 patent covers certain steps performed by Biogen’s Stratify assay. The

 assay includes two separate tests: a detection assay and a confirmation assay. For the detection

 assay, “JC virus-like particles (VLP) are pre-coated onto … microtiter plates. Diluted serum or

 plasma specimens and controls are incubated in the wells to allow JCV-specific antibodies present

 in the specimens to react with the JC VLP antigen.” The result of the detection assay is reported

 as an index value. “A specimen with an index value that is greater than a specified upper cut-off

 is reported as positive for detectable JCV-specific antibodies, whereas a specimen with an index

 value less than the specified lower cut-off is reported as negative for detectable JCV-specific

 antibodies. A specimen with an index value that is equal to or between the upper and lower cut-

 off values is reported as indeterminate. An indeterminate result requires further evaluation in the

 confirmation (inhibition) assay.”

        280.    In the confirmation assay, the sample is first contacted with soluble JC VLP antigen

 in solution before being added to multi-well plates coated with the JC VLP antigen. As provided

 in the Stratify insert “[i]n the confirmation assay, soluble JC VLP antigen will compete with plate

 bound JC VLP antigen for the JCV-specific antibodies present in the serum or plasma

 specimens.” Based on this competition, the confirmation assay is able to detect the level of anti-

 JCV antibodies in the sample. The results of the confirmation assay are reported as percent




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 inhibition. “The percent inhibition is calculated to confirm presence of JCV-specific antibodies in

 the specimen. Specimens with a percent inhibition value that is greater than the specified cut-off

 are reported as positive for detectable JCV-specific antibodies, whereas specimens with percent

 inhibition values less than or equal to the cut-off are reported as negative for detectable JCV-

 specific antibodies.”

        281.




        282.    Based on information presently available to Biogen, including without limitation,

 the confidential information disclosed to Biogen by Defendants pursuant to 42 U.S.C. § 262(l)(2),

 Defendants have infringed or will infringe, and/or are currently inducing infringement, and/or will

 induce infringement, directly or indirectly, literally and/or under the doctrine of equivalents, one

 or more claims of the ’423 patent, including at least claim 1.

        283.    Defendants have infringed one or more claims of the ’423 patent, including at least

 claim 1, under 35 U.S.C. § 271(e)(2)(C), by filing their aBLA for the express purpose of obtaining

 approval to engage in the commercial manufacture, use, or sale of a drug, the use of which is

 claimed in a patent, before the expiration of such patent.




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           284.   An actual controversy has arisen and now exists between the parties concerning

 whether Defendants have infringed or will infringe, and/or are currently inducing infringement,

 and/or will induce infringement, directly or indirectly, literally and/or under the doctrine of

 equivalents, one or more claims of the ’423 patent.

           285.   Biogen is entitled to a judicial declaration that Defendants have infringed or will

 infringe, and/or are currently inducing infringement, and/or will induce infringement, directly or

 indirectly, literally and/or under the doctrine of equivalents, one or more claims of the ’423 patent.

           286.   Through Defendants’ knowledge of the ’423 patent and their infringement thereof,

 Defendants willfully, wantonly, and deliberately engaged in the acts of infringement alleged

 herein, either individually or through the approval, direction, and control of others.

           287.   Defendants’ infringement has and will continue to damage Biogen, who is entitled

 to recover jointly and severally from Defendants under 35 U.S.C. § 284 the damages resulting

 from Defendants’ wrongful acts in an amount to be determined at trial, and in any event no less

 than a reasonably royalty.

           288.   Moreover, Defendants’ infringement has caused, and will continue to cause,

 irreparable injury to Biogen, injury for which damages are an inadequate remedy unless

 Defendants, together with, inter alia, all subsidiaries, partners, co-marketers, and licensees, are

 enjoined from any and all activities that would infringe or would induce infringement of the claims

 of the ’423 patent.

                                              COUNT X

                    (Declaration of Infringement of U.S. Patent No. 8,124,350)

           289.   Biogen re-alleges and incorporates the foregoing allegations as if fully set forth

 herein.




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        290.    The ’350 patent claims a method of detecting a reduction in therapeutic efficacy of

 natalizumab in a subject that has been administered natalizumab.

        291.    Representative claim 1 of the ’350 patent recites:

        1. A method of detecting a reduction in therapeutic efficacy of natalizumab in a
        subject that has been administered natalizumab, the method comprising:
        performing an antibody detection assay to determine whether two or more
        biological samples taken at different time points from the subject contain a level of
        anti-natalizumab antibody that is at least a threshold level of anti-natalizumab
        antibody, wherein the threshold level is at least two standard deviations above a
        mean level of anti-natalizumab antibody measured in an untreated patient
        population, and, wherein the presence of the threshold level of anti-natalizumab
        antibody in the two or more samples indicates a reduction in, or absence of,
        therapeutic efficacy of natalizumab.

        292.    Defendants have infringed, are infringing, and/or will infringe and/or have induced,

 are inducing, and/or will induce others to infringe, directly or indirectly, literally and/or under the

 doctrine of equivalents, one or more claims, including at least claim 1, of the ’350 patent, and

 Defendants have taken and are taking meaningful steps to infringe or to induce others to infringe

 the ’350 patent.

        293.    Defendants, with knowledge of the ’350 patent, have an affirmative intent to

 actively induce others to infringe one or more claims of the ’350 patent.

        294.




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        295.    Based on information presently available to Biogen, including without limitation,

 the confidential information disclosed to Biogen by Defendants pursuant to 42 U.S.C. § 262(l)(2)

 relating to the indications and methods of use for           in the event their aBLA is approved by

 the FDA, Defendants will actively induce infringement by others of one or more claims of the ’350

 patent, including at least claim 1, under 35 U.S.C. § 271(b).

        296.    Defendants have infringed one or more claims of the ’350 patent, including at least

 claim 1, under 35 U.S.C. § 271(e)(2)(C), by filing their aBLA for the express purpose of obtaining

 approval to engage in the commercial manufacture, use, or sale of a drug, the use of which is

 claimed in a patent, before the expiration of such patent.

        297.    An actual controversy has arisen and now exists between the parties concerning

 whether Defendants have infringed or will infringe, and/or are currently inducing infringement,

 and/or will induce infringement, directly or indirectly, literally and/or under the doctrine of

 equivalents, one or more claims of the ’350 patent.

        298.    Biogen is entitled to a judicial declaration that Defendants have infringed or will

 infringe, and/or are currently inducing infringement, and/or will induce infringement, directly or

 indirectly, literally and/or under the doctrine of equivalents, one or more claims of the ’350 patent.

        299.    Defendants’ infringement has and will continue to damage Biogen, who is entitled

 to recover jointly and severally from Defendants under 35 U.S.C. § 284 the damages resulting

 from Defendants’ wrongful acts in an amount to be determined at trial, and in any event no less

 than a reasonably royalty.




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           300.   Moreover, Defendants’ infringement has caused, and will continue to cause,

 irreparable injury to Biogen, injury for which damages are an inadequate remedy unless

 Defendants, together with, inter alia, all subsidiaries, partners, co-marketers, and licensees, are

 enjoined from any and all activities that would infringe or would induce infringement of the claims

 of the ’350 patent.

                                               COUNT XI

                  (Declaration of Infringement of U.S. Patent No. U.S. 8,871,449)

           301.   Biogen re-alleges and incorporates the foregoing allegations as if fully set forth

 herein.

           302.   The ’449 patent claims a method of monitoring an immune response to natalizumab

 in a subject treated with natalizumab.

           303.   Representative claim 1 of the ’449 patent recites:

           1. A method of monitoring an immune response to natalizumab in a subject treated
           with natalizumab, the method comprising: performing an antibody detection assay
           on a biological sample taken from a subject treated with natalizumab to determine
           whether the biological sample contains at least a threshold level of anti-natalizumab
           antibody binding activity, wherein the threshold level is equal to the level of anti-
           natalizumab antibody binding activity present in a reference sample comprising at
           least 200 ng/ml of anti-natalizumab antibody, and wherein the presence of at least
           the threshold level of anti-natalizumab antibody binding activity in the biological
           sample indicates a reduction in, or absence of, therapeutic efficacy of natalizumab.

           304.   Defendants have infringed, are infringing, and/or will infringe and/or have induced,

 are inducing, and/or will induce others to infringe, directly or indirectly, literally and/or under the

 doctrine of equivalents, one or more claims, including at least claim 1, of the ’449 patent, and

 Defendants have taken and are taking meaningful steps to infringe or to induce others to infringe

 the ’449 patent.

           305.   Defendants, with knowledge of the ’449 patent, have an affirmative intent to

 actively induce others to infringe one or more claims of the ’449 patent.


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        306.




        307.    Based on information presently available to Biogen, including without limitation,

 the confidential information disclosed to Biogen by Defendants pursuant to 42 U.S.C. § 262(l)(2)

 relating to the indications and methods of use for           in the event their aBLA is approved by

 the FDA, Defendants will actively induce infringement by others of one or more claims of the ’449

 patent, including at least claim 1, under 35 U.S.C. § 271(b).

        308.    Defendants have infringed one or more claims of the ’449 patent, including at least

 claim 1, under 35 U.S.C. § 271(e)(2)(C), by filing their aBLA for the express purpose of obtaining

 approval to engage in the commercial manufacture, use, or sale of a drug, the use of which is

 claimed in a patent, before the expiration of such patent.

        309.    An actual controversy has arisen and now exists between the parties concerning

 whether Defendants have infringed or will infringe, and/or are currently inducing infringement,

 and/or will induce infringement, directly or indirectly, literally and/or under the doctrine of

 equivalents, one or more claims of the ’449 patent.




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           310.   Biogen is entitled to a judicial declaration that Defendants have infringed or will

 infringe, and/or are currently inducing infringement, and/or will induce infringement, directly or

 indirectly, literally and/or under the doctrine of equivalents, one or more claims of the ’449 patent.

           311.   Defendants’ infringement has and will continue to damage Biogen, who is entitled

 to recover jointly and severally from Defendants under 35 U.S.C. § 284 the damages resulting

 from Defendants’ wrongful acts in an amount to be determined at trial, and in any event no less

 than a reasonably royalty.

           312.   Moreover, Defendants’ infringement has caused, and will continue to cause,

 irreparable injury to Biogen, injury for which damages are an inadequate remedy unless

 Defendants, together with, inter alia, all subsidiaries, partners, co-marketers, and licensees, are

 enjoined from any and all activities that would infringe or would induce infringement of the claims

 of the ’449 patent.

                                              COUNT XII

                  (Declaration of Infringement of U.S. Patent No. U.S. 9,709,575)

           313.   Biogen re-alleges and incorporates the foregoing allegations as if fully set forth

 herein.

           314.   The ’575 patent claims methods and products for detecting whether at least a

 threshold level of anti-natalizumab antibody binding activity is present in a biological sample.

           315.   Representative claim 1 of the ’575 patent recites:

           1. A method comprising: administering natalizumab to a subject; and detecting
           whether at least a threshold level of anti-natalizumab antibody binding activity is
           present in a biological sample obtained from the subject, wherein the threshold level
           is equal to the level of anti-natalizumab antibody binding activity present in a
           reference sample comprising at least 500 ng/ml of anti-natalizumab antibody.

           316.   Defendants have infringed, are infringing, and/or will infringe and/or have induced,

 are inducing, and/or will induce others to infringe, directly or indirectly, literally and/or under the


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 doctrine of equivalents, one or more claims, including at least claim 1, of the ’575 patent, and

 Defendants have taken and are taking meaningful steps to infringe or to induce others to infringe

 the ’575 patent.

        317.    Defendants, with knowledge of the ’575 patent, have an affirmative intent to

 actively induce others to infringe one or more claims of the ’575 patent.

        318.




        319.    Based on information presently available to Biogen, including without limitation,

 the confidential information disclosed to Biogen by Defendants pursuant to 42 U.S.C. § 262(l)(2)

 relating to the indications and methods of use for           in the event their aBLA is approved by

 the FDA, Defendants will actively induce infringement by others of one or more claims of the ’575

 patent, including at least claim 1, under 35 U.S.C. § 271(b).

        320.    Defendants have infringed one or more claims of the ’575 patent, including at least

 claim 1, under 35 U.S.C. § 271(e)(2)(C), by filing their aBLA for the express purpose of obtaining

 approval to engage in the commercial manufacture, use, or sale of a drug, the use of which is

 claimed in a patent, before the expiration of such patent.




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           321.   An actual controversy has arisen and now exists between the parties concerning

 whether Defendants have infringed or will infringe, and/or are currently inducing infringement,

 and/or will induce infringement, directly or indirectly, literally and/or under the doctrine of

 equivalents, one or more claims of the ’575 patent.

           322.   Biogen is entitled to a judicial declaration that Defendants have infringed or will

 infringe, and/or are currently inducing infringement, and/or will induce infringement, directly or

 indirectly, literally and/or under the doctrine of equivalents, one or more claims of the ’575 patent.

           323.   Defendants’ infringement has and will continue to damage Biogen, who is entitled

 to recover jointly and severally from Defendants under 35 U.S.C. § 284 the damages resulting

 from Defendants’ wrongful acts in an amount to be determined at trial, and in any event no less

 than a reasonably royalty.

           324.   Moreover, Defendants’ infringement has caused, and will continue to cause,

 irreparable injury to Biogen, injury for which damages are an inadequate remedy unless

 Defendants, together with, inter alia, all subsidiaries, partners, co-marketers, and licensees, are

 enjoined from any and all activities that would infringe or would induce infringement of the claims

 of the ’575 patent.

                                             COUNT XIII

                    (Declaration of Infringement of U.S. Patent No. 10,705,095)

           325.   Biogen re-alleges and incorporates the foregoing allegations as if fully set forth

 herein.

           326.   The ’095 patent claims methods and products for detecting the presence or absence

 of at least a threshold level of anti-natalizumab antibody binding activity.

           327.   Representative claim 1 of the ’095 patent recites:




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        1. A method, comprising: (a) administering natalizumab to a subject having
        Multiple Sclerosis; (b) detecting in a first biological sample obtained from the
        subject at a first time point the presence or absence of at least a threshold level of
        anti-natalizumab antibody binding activity; and (c) detecting in a second biological
        sample obtained from the subject at a second time point the presence or absence of
        at least a threshold level of anti-natalizumab antibody binding activity, wherein the
        threshold level is equal to the level of anti-natalizumab antibody binding activity
        present in a reference sample comprising at least 500 ng/ml of anti-natalizumab
        antibody.

        328.    Defendants have infringed, are infringing, and/or will infringe and/or have induced,

 are inducing, and/or will induce others to infringe, directly or indirectly, literally and/or under the

 doctrine of equivalents, one or more claims, including at least claim 1, of the ’095 patent, and

 Defendants have taken and are taking meaningful steps to infringe or to induce others to infringe

 the ’095 patent.

        329.    Defendants, with knowledge of the ’095 patent, have an affirmative intent to

 actively induce others to infringe one or more claims of the ’095 patent.

        330.




        331.    Based on information presently available to Biogen, including without limitation,

 the confidential information disclosed to Biogen by Defendants pursuant to 42 U.S.C. § 262(l)(2)




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 relating to the indications and methods of use for           in the event their aBLA is approved by

 the FDA, Defendants will actively induce infringement by others of one or more claims of the ’095

 patent, including at least claim 1, under 35 U.S.C. § 271(b).

        332.    Defendants have infringed one or more claims of the ’095 patent, including at least

 claim 1, under 35 U.S.C. § 271(e)(2)(C), by filing their aBLA for the express purpose of obtaining

 approval to engage in the commercial manufacture, use, or sale of a drug, the use of which is

 claimed in a patent, before the expiration of such patent.

        333.    An actual controversy has arisen and now exists between the parties concerning

 whether Defendants have infringed or will infringe, and/or are currently inducing infringement,

 and/or will induce infringement, directly or indirectly, literally and/or under the doctrine of

 equivalents, one or more claims of the ’095 patent.

        334.    Biogen is entitled to a judicial declaration that Defendants have infringed or will

 infringe, and/or are currently inducing infringement, and/or will induce infringement, directly or

 indirectly, literally and/or under the doctrine of equivalents, one or more claims of the ’095 patent.

        335.    Defendants’ infringement has and will continue to damage Biogen, who is entitled

 to recover jointly and severally from Defendants under 35 U.S.C. § 284 the damages resulting

 from Defendants’ wrongful acts in an amount to be determined at trial, and in any event no less

 than a reasonably royalty.

        336.    Moreover, Defendants’ infringement has caused, and will continue to cause,

 irreparable injury to Biogen, injury for which damages are an inadequate remedy unless

 Defendants, together with, inter alia, all subsidiaries, partners, co-marketers, and licensees, are

 enjoined from any and all activities that would infringe or would induce infringement of the claims

 of the ’095 patent.




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                                              COUNT XIV

                     (Declaration of Infringement of U.S. Patent No. 8,809,049)

           337.   Biogen re-alleges and incorporates the foregoing allegations as if fully set forth

 herein.

           338.   The ’049 patent claims a method for producing one or more CHO cells having

 enhanced growth characteristics.

           339.   Representative claim 1 of the ’049 patent recites:

           1. A method for producing one or more Chinese hamster ovary (CHO) cells having
           enhanced growth characteristics, said method comprising: (a) subjecting a starting
           population of CHO cells to one or more selection cycles comprising selective
           conditions; wherein said selective conditions comprise incubating said cells in a
           bioreactor in which less than 70% of said starting population of cells remain viable,
           with the proviso that said selective conditions do not comprise contacting said cells
           with a culture medium containing exogenously added ammonium; (b) obtaining
           one or more CHO cells that remain viable under said selective conditions; wherein
           said cells obtained from said one or more selection cycles exhibit all integral cell
           area (ICA) that is at least 25% greater than the corresponding ICA of said starting
           population of cells when said cells obtained from said one or more selection cycles
           and said starting population of cells are grown under the same culture conditions;
           and (c) inoculating said cells obtained in (b) into a bioreactor.

           340.   On account of Defendants’ decision not to provide additional information as

 requested by Biogen under 42 U.S.C. § 262(l)(2)(A)-(B) in order to assess whether a claim of

 patent infringement could reasonably be asserted, Biogen is unable at this time to fully evaluate

 the extent of Sandoz and/or Polpharma’s infringement. Biogen is thus unable to provide a more

 detailed infringement analysis for the process(es) of PB006’s manufacture at this time without

 further discovery, and makes the following allegations based on the limited number of documents

 produced by Defendants to date relating to            and/or PB006 manufacturing processes, as well

 as upon information and belief.




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        341.




        342.




        343.    Based on information presently available to Biogen, including without limitation,

 the confidential information disclosed to Biogen by Defendants pursuant to 42 U.S.C. § 262(l)(2)

 relating to PB006 manufacturing methods, Defendants have infringed, are infringing, and/or will

 infringe one or more claims of the ’049 patent under 35 U.S.C. §§ 271(a) and/or (b), directly or

 indirectly, literally and/or under the doctrine of equivalents.

        344.    Defendants intend to and will make, use, offer to sell, or sell within the United

 States, or import into the United States           which is made by a process that falls within the

 scope of one or more claims of the ’049 patent, or have done so already. Defendants’ making,

 using, offering to sell, or selling within the United States, or importing into the United States

 infringes one or more claims of the ’049 patent under 35 U.S.C. § 271(g).

        345.    Defendants have infringed one or more claims of the ’049 patent, including at least

 claim 1, under 35 U.S.C. § 271(e)(2)(C), by filing their aBLA for the express purpose of obtaining

 approval to engage in the commercial manufacture, use, or sale of a drug, the use of which is

 claimed in a patent, before the expiration of such patent.

        346.    An actual controversy has arisen and now exists between the parties concerning

 whether the manufacture, use, offering to sell, or sale within the United States or the importation




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 into the United States of           and/or PB006 has infringed or will infringe one or more claims

 of the ’049 patent.

           347.   Biogen is entitled to a judicial declaration that Defendants have infringed or will

 infringe, and/or are currently inducing infringement, and/or will induce infringement, directly or

 indirectly, literally and/or under the doctrine of equivalents, one or more claims of the ’049 patent.

           348.   Defendants’ infringement has and will continue to damage Biogen, who is entitled

 to recover jointly and severally from Defendants under 35 U.S.C. § 284 the damages resulting

 from Defendants’ wrongful acts in an amount to be determined at trial, and in any event no less

 than a reasonably royalty.

           349.   Moreover, Defendants’ infringement has caused, and will continue to cause,

 irreparable injury to Biogen, injury for which damages are an inadequate remedy unless

 Defendants, together with, inter alia, all subsidiaries, partners, co-marketers, and licensees, are

 enjoined from any and all activities that would infringe the claims of the ’049 patent.

                                              COUNT XV

                    (Declaration of Infringement of U.S. Patent No. 10,844,416)

           350.   Biogen re-alleges and incorporates the foregoing allegations as if fully set forth

 herein.

           351.   The ’416 patent claims methods for achieving a predetermined glycosylation

 profile of an anti-alpha-4-integrin antibody.

           352.   Representative claim 1 of the ’416 patent recites:

           1. A method for achieving a predetermined glycosylation profile of an anti-α4-
           integrin antibody, an interferon beta-1a polypeptide, or a rFVIIIFc, the method
           comprising: adding manganese to a cell culture at a concentration that falls within
           a target manganese concentration range, wherein the cell culture comprises host
           cells producing the anti-α4-integrin antibody, interferon beta-1a polypeptide, or
           rFVIIIFc, and if the manganese concentration in the cell culture is below the target
           manganese concentration range, the cell culture is supplemented with manganese,


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        wherein the target manganese concentration range in the cell culture for an anti-α4-
        integrin antibody, an interferon beta-1a polypeptide, or a rFVIIIFc is respectively
        0.025 μM to 10 μM, 0.1 μM to 5 μM, and 30 nM to 1800 nM.

        353.   On account of Defendants’ decision not to provide additional information as

 requested by Biogen under 42 U.S.C. § 262(l)(2)(A)-(B) in order to assess whether a claim of

 patent infringement could reasonably be asserted, Biogen is unable at this time to fully evaluate

 the extent of Sandoz and/or Polpharma’s infringement. Biogen is thus unable to provide a more

 detailed infringement analysis for the process(es) of PB006’s manufacture at this time without

 further discovery, and makes the following allegations based on the limited number of documents

 produced by Defendants to date relating to             and/or PB006 manufacturing process(es), as

 well as upon information and belief.

        354.

        355.




        356.




        357.   Based on information presently available to Biogen, including without limitation,

 the confidential information disclosed to Biogen by Defendants pursuant to 42 U.S.C. § 262(l)(2)

 relating to PB006 manufacturing methods, Defendants have infringed, are infringing, and/or will




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 infringe one or more claims, including at least claim 1, of the ’416 patent under 35 U.S.C. §§

 271(a) and/or (b), directly or indirectly, literally and/or under the doctrine of equivalents.

        358.    Defendants intend to and will make, use, offer to sell, or sell within the United

 States, or import into the United States           which is made by a process that falls within the

 scope of one or more claims of the ’416 patent, or have done so already. Defendants’ making,

 using, offering to sell, or selling within the United States, or importing into the United States

 infringes one or more claims of the ’416 patent under 35 U.S.C. § 271(g).

        359.    Defendants have infringed one or more claims of the ’416 patent, including at least

 claim 1, under 35 U.S.C. § 271(e)(2)(C), by filing their aBLA for the express purpose of obtaining

 approval to engage in the commercial manufacture, use, or sale of a drug, the use of which is

 claimed in a patent, before the expiration of such patent.

        360.    An actual controversy has arisen and now exists between the parties concerning

 whether the manufacture, use, offering to sell, or sale within the United States or the importation

 into the United States of         and/or PB006 will infringe one or more claims of the ’416 patent.

        361.    Biogen is entitled to a judicial declaration that Defendants have infringed or will

 infringe, and/or are currently inducing infringement, and/or will induce infringement, directly or

 indirectly, literally and/or under the doctrine of equivalents, one or more claims of the ’416 patent.

        362.    Defendants’ infringement has and will continue to damage Biogen, who is entitled

 to recover jointly and severally from Defendants under 35 U.S.C. § 284 the damages resulting

 from Defendants’ wrongful acts in an amount to be determined at trial, and in any event no less

 than a reasonably royalty.

        363.    Moreover, Defendants’ infringement has caused, and will continue to cause,

 irreparable injury to Biogen, injury for which damages are an inadequate remedy unless




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 Defendants, together with, inter alia, all subsidiaries, partners, co-marketers, and licensees, are

 enjoined from any and all activities that would infringe the claims of the ’416 patent.

                                              COUNT XVI

                     (Declaration of Infringement of U.S. Patent No. 9,109,015)

           364.   Biogen re-alleges and incorporates the foregoing allegations as if fully set forth

 herein.

           365.   The ’015 patent claims a method of purifying a composition containing a

 recombinant protein and an impurity.

           366.   Representative claim 1 of the ’015 patent recites:

           1. A method of purifying a composition containing a recombinant protein and an
           impurity, the method comprising: (a) lowering the pH of the composition to a pH
           range of about 3.0 to about 6.5; (b) adding a divalent cation selected from the group
           consisting of Co2+, Ni2+ and combinations thereof to the composition to result in a
           divalent cation concentration of about 1 mM to about 50 mM; and (c) separating
           the protein from the impurity, wherein the protein comprises an antibody or a fusion
           protein comprising an Fc region, which is produced by a recombinant eukaryotic
           host cell, wherein the composition comprises a harvest feed of the recombinant
           eukaryotic host cell, wherein the addition of the divalent cation increases the
           recovery of the protein by greater than 3% compared to the amount of protein
           recovered without the addition of the divalent cation, and wherein the separating of
           (c) is performed by subjecting the composition to centrifugation, the centrifugation
           forming a supernatant and a precipitate wherein the protein is substantially in the
           supernatant, or wherein the separating of (c) is performed by filtering the
           composition, the filtering forming a permeate stream and a retentate stream wherein
           the protein is substantially in the permeate stream, and wherein (a) and (b) are
           carried out sequentially in any order before (c).

           367.   On account of Defendants’ decision not to provide additional information as

 requested by Biogen under 42 U.S.C. § 262(l)(2)(A)-(B) in order to assess whether a claim of

 patent infringement could reasonably be asserted, Biogen is unable at this time to fully evaluate

 the extent of Sandoz and/or Polpharma’s infringement. Biogen is thus unable to provide a more

 detailed infringement analysis for the process(es) of PB006’s manufacture at this time without

 further discovery, and makes the following allegations based on the limited number of documents


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 produced by Defendants to date relating to               and/or PB006 manufacturing process(es), as

 well as upon information and belief.

        368.




        369.



        370.

                                 .

        371.




        372.    Based on information presently available to Biogen, including without limitation,

 the confidential information disclosed to Biogen by Defendants pursuant to 42 U.S.C. § 262(l)(2)

 relating to PB006 manufacturing methods, Defendants have infringed, are infringing, and/or will

 infringe one or more claims, including at least claim 1, of the ’015 patent under 35 U.S.C. §§

 271(a) and/or (b), directly or indirectly, literally and/or under the doctrine of equivalents.

        373.    Defendants intend to and will make, use, offer to sell, or sell within the United

 States, or import into the United States           which is made by a process that falls within the

 scope of one or more claims of the ’015 patent, or have done so already. Defendants’ making,

 using, offering to sell, or selling within the United States, or importing into the United States

 infringes one or more claims of the ’015 patent under 35 U.S.C. § 271(g).




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           374.   Defendants have infringed one or more claims of the ’015 patent, including at least

 claim 1, under 35 U.S.C. § 271(e)(2)(C), by filing their aBLA for the express purpose of obtaining

 approval to engage in the commercial manufacture, use, or sale of a drug, the use of which is

 claimed in a patent, before the expiration of such patent.

           375.   An actual controversy has arisen and now exists between the parties concerning

 whether the manufacture, use, offering to sell, or sale within the United States or the importation

 into the United States of         and/or PB006 will infringe one or more claims of the ’015 patent.

           376.   Biogen is entitled to a judicial declaration that Defendants have infringed or will

 infringe, and/or are currently inducing infringement, and/or will induce infringement, directly or

 indirectly, literally and/or under the doctrine of equivalents, one or more claims of the ’015 patent.

           377.   Defendants’ infringement has and will continue to damage Biogen, who is entitled

 to recover jointly and severally from Defendants under 35 U.S.C. § 284 the damages resulting

 from Defendants’ wrongful acts in an amount to be determined at trial, and in any event no less

 than a reasonably royalty.

           378.   Moreover, Defendants’ infringement has caused, and will continue to cause,

 irreparable injury to Biogen, injury for which damages are an inadequate remedy unless

 Defendants, together with, inter alia, all subsidiaries, partners, co-marketers, and licensees, are

 enjoined from any and all activities that would infringe the claims of the ’015 patent.

                                            COUNT XVII

                    (Declaration of Infringement of U.S. Patent No. 9,096,879)

           379.   Biogen re-alleges and incorporates the foregoing allegations as if fully set forth

 herein.

           380.   The ’879 patent claims a method of preventing misincorporation of serine in place

 of asparagine during translation of a polypeptide of interest in a mammalian cell.


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        381.   Representative claim 1 of the ’879 patent recites:

        1. A method for preventing misincorporation of serine in place of asparagine during
        translation of a polypeptide of interest in a mammalian cell, comprising: (a)
        providing a culture comprising the cell in growth media, wherein the culture has a
        volume of at least 500 liters; (b) supplementing the culture with a feed medium
        comprising asparagine, or a metabolic precursor thereof, in an amount sufficient to
        reduce serine misincorporation; and (c) maintaining the supplemented culture
        under conditions appropriate for expression of the polypeptide of interest, wherein
        the polypeptide of interest expressed by the cell comprises less than about 3% serine
        misincorporated in place of asparagine.

        382.   On account of Defendants’ decision not to provide additional information as

 requested by Biogen under 42 U.S.C. § 262(l)(2)(A)-(B) in order to assess whether a claim of

 patent infringement could reasonably be asserted, Biogen is unable at this time to fully evaluate

 the extent of Sandoz and/or Polpharma’s infringement. Biogen is thus unable to provide a more

 detailed infringement analysis for the process(es) of PB006’s manufacture at this time without

 further discovery, and makes the following allegations based on the limited number of documents

 produced by Defendants to date relating to             and/or PB006 manufacturing process(es), as

 well as upon information and belief.

        383.



        384.




        385.




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        386.    Upon information and belief,




        387.



        388.    Based on information presently available to Biogen, including without limitation,

 the confidential information disclosed to Biogen by Defendants pursuant to 42 U.S.C. § 262(l)(2)

 relating to PB006 manufacturing methods, Defendants have infringed, are infringing, and/or will

 infringe one or more claims, including at least claim 1, of the ’879 patent under 35 U.S.C. §§

 271(a) and/or (b), directly or indirectly, literally and/or under the doctrine of equivalents.

        389.    Defendants intend to and will make, use, offer to sell, or sell within the United

 States, or import into the United States           which is made by a process that falls within the

 scope of one or more claims of the ’879 patent, or have done so already. Defendants’ making,

 using, offering to sell, or selling within the United States, or importing into the United States

 infringes one or more claims of the ’879 patent under 35 U.S.C. § 271(g).

        390.    Defendants have infringed one or more claims of the ’879 patent, including at least

 claim 1, under 35 U.S.C. § 271(e)(2)(C), by filing their aBLA for the express purpose of obtaining

 approval to engage in the commercial manufacture, use, or sale of a drug, the use of which is

 claimed in a patent, before the expiration of such patent.

        391.    An actual controversy has arisen and now exists between the parties concerning

 whether the manufacture, use, offering to sell, or sale within the United States or the importation

 into the United States of         and/or PB006 will infringe one or more claims of the ’879 patent.




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        392.    Biogen is entitled to a judicial declaration that Defendants have infringed or will

 infringe, and/or are currently inducing infringement, and/or will induce infringement, directly or

 indirectly, literally and/or under the doctrine of equivalents, one or more claims of the ’879 patent.

        393.    Defendants’ infringement has and will continue to damage Biogen, who is entitled

 to recover jointly and severally from Defendants under 35 U.S.C. § 284 the damages resulting

 from Defendants’ wrongful acts in an amount to be determined at trial, and in any event no less

 than a reasonably royalty.

        394.    Moreover, Defendants’ infringement has caused, and will continue to cause,

 irreparable injury to Biogen, injury for which damages are an inadequate remedy unless

 Defendants, together with, inter alia, all subsidiaries, partners, co-marketers, and licensees, are

 enjoined from any and all activities that would infringe the claims of the ’879 patent.




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                                      PRAYER FOR RELIEF

         WHEREFORE, Biogen respectfully requests the following relief:

    A.      Judgment that Defendants have infringed and/or a declaration that Defendants will

            infringe one or more claims of the Asserted Patents, directly, and/or indirectly, literally

            and/or under the doctrine of equivalents;

    B.      Judgment that Defendants’ infringement of one or more claims of the ’641, ’234, and

            ’423 patents was willful and deliberate, an injunction, and a three-fold increase in the

            award of any damages in accordance with 35 U.S.C. § 284;

    C.      A declaration that the manufacture, use, offer for sale, sale, and/or importation of

            PB006 and/or            has infringed or will infringe one or more claims of the Asserted

            Patents;

    D.      A declaration that the Asserted Patents are valid and enforceable;

    E.      An award for an accounting of damages from Defendants’ infringement;

    F.      A declaration that this case is exceptional pursuant to 35 U.S.C. § 285, and an award

            of attorneys’ fees and costs pursuant to 35 U.S.C. § 285 and 35 U.S.C. § 271(e)(4);

    G.      Preliminary and/or permanent injunctive relief, including pursuant to 35 U.S.C.

            § 271(e)(4)(B) or any other relevant ground, including an order that including an order

            that Defendants and any of their affiliates, subsidiaries, officers, directors, employees,

            agents, representatives, licensees, successors, assigns, and all those acting for any of

            them and/or on any of their behalf, and other persons in active concert or participation

            with any of them directly and/or indirectly, be preliminarily and permanently enjoined

            from infringing, inducing others to infringe, or contributing to the infringement of the

            Asserted Patents; and

    H.      An award of such other and further relief as the Court may deem just and proper.


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                                      MORRIS, NICHOLS, ARSHT & TUNNELL LLP


                                      /s/ Karen Jacobs
 OF COUNSEL:                          Jack Blumenfeld (#1014)
                                      Karen Jacobs (#2881)
 Eric J. Marandett                    Derek Fahnestock (#4705)
 Anita M.C. Spieth                    1201 North Market Street
 Greta A. Fails                       P.O. Box 1347
 Jennie D. Wilusz                     Wilmington, DE 19899
 Max A. Jacobs                        (302) 658-9200
 CHOATE HALL & STEWART LLP            jblumenfeld@morrisnichols.com
 Two International Place              kjacobs@morrisnichols.com
 Boston, MA 02110                     dfahnestock@morrisnichols.com
 (617) 248-5000
                                      Attorneys for Plaintiffs
                                      Biogen Inc. and Biogen MA Inc.

 December 1, 2022




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